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                                     No.23-_ _

                  IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT


              IN RE: MARRIOTT INTERNATIONAL CUSTOMER DATA
                       SECURITY BREACH LITIGATION


        PETITION OF DEFENDANT MARRIOTT INTERNATIONAL, INC.
             FOR PERMISSION TO APPEAL UNDER RULE 23(F)


        From the Order Granting Class Certification, Entered November 29, 2023,
            by the United States District Court for the District of Maryland,
                              Civil Action No. 19-md-2879


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                        CORPORATE DISCLOSURE STATEMENT

                 Pursuant to Federal Rule of Appellate Procedure 26.l(a), Defendant-

        Petitioner Marriott International, Inc. certifies that Marriott International,

        Inc. (NASDAQ: MAR) is a publicly owned company and that no public

        corporation or entity owns 10% or more of Marriott International, Inc.'s

        stock.




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                          STATEMENT OF RELATED CASES

              This petition arises from recertification of the classes vacated by this

        Court in In re Marriott Int'l, Inc., 78 F.4th 677 (4th Cir. 2023). That decision

        addressed two consolidated cases: Maldini v. Marriott Int'l, Inc. (No. 22-

        1745) and Maldini v. Accenture LLP (No. 22-1744).




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                                PRELIMINARY STATEMENT

              This Court's review is urgently needed once again to address one of

        the largest class certification orders ever issued in a data-security case. This

        Court previously vacated class certification because the district court failed

        to address the parties' class-action waiver before certifying. On remand,

        Judge Bailey "respectfully disagree[d]" with key aspects of the panel's ruling

        and recertified identical classes consisting entirely of individuals who had

        expressly agreed not to pursue class relief. Appl 1. The recertification order

        rests on two unprecedented holdings. First, the court held that Marriott

        relinquished its class-waiver defense simply by participating in multidistrict

        litigation ("MDL"), even though Marriott timely and repeatedly invoked the

        waiver defense. Second, the court held that Rule 23 prohibits class-action

        waivers unaccompanied by arbitration provisions. Those determinations are

        plainly wrong on the law and massively consequential.

              Courts regularly enforce class-action waivers both in multidistrict

        litigation specifically and under the Federal Rules generally. The district

        court did not cite, let alone distinguish, any of that precedent. Instead, the

        district court rewrote the history of this case-a history for which the newly

        assigned Judge Bailey was not present. Marriott agreed to the MDL, which


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        encompassed dozens of suits involving dozens of agreements, years before

        plaintiffs invoked the particular contract containing the class-action waiver

        to define their class claims. The district court's decision threatens the entire

        enterprise of multidistrict litigation: No defendant in any case would agree

        to an MDL if doing so meant sacrificing contract defenses-especially under

        yet-to-be-invoked contracts.

              Even setting aside waiver, the recertification order repeats the prior

        order's mistakes. Among them, certification again rests on a novel

        "overpayment" theory: Plaintiffs supposedly would have paid less for their

        hotel rooms had they known about the data-security incident. But millions

        of would-be class members lack standing under that theory because they

        were fully reimbursed for their stays. Those uninjured members cannot be

        identified without transaction-by-transaction proof at trial for many millions

        of reservations, which precludes certification under this Court's

        ascertainability precedents.

              Nor did plaintiffs meet Rule 23's requirement to prove their damages

        model actually "measure[s]" overpayment classwide. Comcast Corp. v.

        Behrend, 569 U.S. 27, 35 (2013). Plaintiffs' overpayment model assumes that

        Marriott's hotel prices always rise and fall in sync with competitors' prices.


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        But plaintiffs' expert never tested this improbable assumption. When

        Marriott's expert did, she disproved it. Without that discredited assumption,

        plaintiffs acknowledge their damages model cannot determine which

        plaintiffs would have paid less for which stays or by how much. Rule 23 and

        Comcast require more.

              If this Court does not grant 23(f) review, it may never be able to correct

        these errors. It is "well known" that certification "can unfairly plac[e]

        pressure on the defendant to settle even unmeritorious claims." Epic Sys.

        Corp. v. Lewis, 138 S. Ct. 1612, 1632 (2018) (internal quotation marks

        omitted). That is even more true when the certified classes are of

        unprecedented size. This Court should grant Rule 23(f) review and vacate

        the recertification order.

                                  QUESTIONS PRESENTED
              1.      Whether a party waives its contractual class-action waiver,

        venue, and choice-of-law provisions by participating in multidistrict

        litigation.

              2.      Whether Federal Rule of Civil Procedure 23 prohibits class-

        action waivers unaccompanied by arbitration agreements.




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              3.    Whether a class may be certified where ascertaining standing

        and class membership requires millions of mini-trials.

              4.    Whether a class may be certified where the classwide damages

        theory rests on a premise that was proven incorrect.

              5.    Whether Rule 24(c)(4) can be used to certify issue classes

        containing millions of individuals who lack standing.

                                      BACKGROUND

              A.    Judge Grimm Certifies Sprawling Classes By Deferring
                    Consideration Of The Class-Action Waiver.

              In September 2016, Marriott acquired Starwood. Dkt. 1014 at 2.

        Unbeknownst to Marriott, an unauthorized third party had accessed

        Starwood's reservation database. Id. Over 80 potentially related actions

        were filed in courts across the country. In re Marriott Int'l, Inc., Customer

        Data Sec. Breach Litig., 363 F.Supp.3d 1372, 1373 (J.P.M.L. 2019). The

        Judicial Panel on Multidistrict Litigation determined that pretrial

        proceedings should occur via an MDL sited in the District of Maryland. Id.

        at 1374. Plaintiffs filed a consolidated complaint bringing 96 claims under the

        laws of all 50 states. Dkt. 537. Litigation proceeded on ten "bellwether''

        claims. Dkt. 279. Pursuant to the district court's direction to agree to a




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        bellwether process, the parties expressly reserved choice-of-law arguments

        in selecting bellwether claims. Dkt. 368.

              Marriott moved to dismiss. In its motion, Marriott reaffirmed the

        parties' agreement to reserve choice-of-law arguments. Dkt. 451 at 2 n.1.

        Marriott also noted that "Plaintiffs' generic pleading style makes it difficult

        to sort out what terms and conditions apply to their dealings with Starwood

        or Marriott, which could include arbitration provisions, class-action waivers,

        choice-of-law provisions, and limitations on liability." Id. at 24 n.15.

              The district court denied dismissal largely based on plaintiffs' identity

        theft allegations. Dkt. 540 at 70-71. Marriott then answered and raised

        plaintiffs' waiver of class relief as an affirmative defense. Dkt. 604 at 97.

              During discovery, Marriott asked plaintiffs what contracts they were

        relying on for their class claims. See Dkt. 1006, Tr. 55:10-56:23 (discussing

        Marriott's Interrogatory 15). Plaintiffs kept their options open, naming 31

        contracts potentially at issue. See id. Some contained class-action waivers;

        others did not. And some contained inconsistent choice-of-law and venue

        provisions. See, e.g., Dkt. 1138, Ex. E § 8.14, Ex. F § 15 (Marriott Rewards

        and Website Terms, containing class-action waivers and Maryland choice-of-

        law and venue provisions).


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              Plaintiffs, in turn, asked Marriott to explain why their class claims

        were barred by a class-action waiver. Marriott responded by pointing to the

        Starwood Preferred Guest Program Terms & Conditions ("SPG Terms"),

        among other contracts. See Marriott's Response to Interrogatory 14.

              Discovery failed to substantiate plaintiffs' allegations of classwide

        identity theft. Dkt. 1019-1 at 3-5. Plaintiffs nevertheless moved to certify

        sprawling classes encompassing every consumer who provided information

        to Starwood during the relevant period. But in so doing, plaintiffs had to

        change their theory of the case. Plaintiffs now rested their standing and

        classwide damages on an "overpayment" theory: They would have paid less

        for their hotel rooms had they known about the data-security incident. Dkt.

        1014 at 32. And, for the first time in this litigation, plaintiffs identified the

        SPG Terms as the sole basis for defining their class contract claims. Dkt.

        1022-1 at 6-7.

              Marriott opposed certification on various grounds, including the class-

        action waiver in the SPG Terms. All bellwether plaintiffs had enrolled in the

        SPG Program, the late-breaking centerpiece of plaintiffs' class contract

        claims. That meant all bellwether plaintiffs had agreed to resolve disputes




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        "individually without any class action" and could not bring class claims. Dkt.

        1019-1 at 36-39.

              In addition, Marriott argued Rule 23's requirements were unmet for

        other reasons. Many plaintiffs were uninjured because they had been

        reimbursed for their stays (by, e.g., employers), and there was no practical

        way to determine who had been reimbursed. Id. at 30, 48-49. Also, plaintiffs

        offered a classwide damages model which assumed that all hotel prices

        always rise and fall together. In reality, however, room rates at different

        hotels vary based on a host of factors. That meant plaintiffs had not advanced

        a workable model, as Rule 23 and Comcast require.

              The district court (Grimm, J.) nonetheless certified damages classes

        covering Maryland (breach of contract, consumer fraud), New York (same),

        and California (consumer fraud). Dkt. 1015. Because the SPG class-action

        waiver applied only to SPG members and thus raised typicality problems,

        the court sua sponte redefined the non-contract classes to include only SPG

        members, as the contract classes did. Dkt. 1014 at 23-25. The court deferred

        addressing the effect of the class-action waiver on class certification. Id. at

        25 n.26. It also certified Rule 23(c)(4) negligence classes limited to duty and




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        breach. Dkt. 1015. The certified classes encompass approximately 20 million

        individuals.

              B.       This Court Vacates Class Certification.
              This Court granted Rule 23(f) review and unanimously vacated the

        class certification order. App25. The panel "agree[d] with Marriott on [the]

        threshold and critical point: The district court erred when it declined to

        consider, before certifying class actions against Marriott, the import of a

        purported class-action waiver signed by every putative class member" as

        part of the SPG Terms. App30. This Court remanded for the district court to

        determine whether the class-action waiver applied and whether Marriott

        had preserved it. App32. The opinion noted that Marriott had "raised its

        class-waiver defense in its answer to the plaintiffs' complaint, and then again

        at class certification." App32. As such, the Court stated, "at least as a general

        rule, it is not obvious that more would be required." App32.

              C.       Judge Bailey Recertifies The Identical Classes.

              On remand, the case was reassigned to Judge Bailey. Dkt. 1134. He

        requested briefing on "the effect of the class waiver," Dkt. 1135, and certain

        questions concerning the SPG Terms' "Choice of Law and Venue"

        provision-the section of the contract containing the class-action waiver, Dkt.


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        1148. Without a hearing, Judge Bailey then recertified the identical classes.

        App20.

              The district court began this way:

              In its decision, the Fourth Circuit indicated that by citing the
              Choice of Law and Venue provision in its answer and only raising
              it in opposition to class certification, Marriott adequately
              preserved its individual claims provision. This court respectfully
              disagrees.

        Appll. The court went on to hold that Marriott repudiated its contractual

        class-action waiver by agreeing to resolve claims via the MDL bellwether

        process, which the court found inconsistent with both the class-action waiver

        and the choice-of-law and venue provisions in the SPG Terms. App9-11.

              The court then held the class-action waiver separately unenforceable

        under Rule 23 and "federal law" because such waivers, unaccompanied by

        arbitration provisions, "purport[] to control the court's management of the

        litigation." App9, App14-15, Appl 7-20.

              After Judge Bailey found the class-action waiver unenforceable, he

        reinstated the vacated classes without any modification or further analysis.

        App20. 1


        1The evening before this petition was due, plaintiffs filed a request in the
        district court to brief the certification of "additional" classes. See Dkt. 1156.
        Though plaintiffs wrote that they "may" at some point seek "modification"

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                                  RELIEF REQUESTED

              Marriott requests that the Court grant this petition and vacate the

        recertification order.

                       REASONS FOR GRANTING THE PETITION

              Rule 23(f) review may be granted based on "any consideration that the

        court of appeals finds persuasive." Fed. R. Civ. P. 23(f), advisory committee

        note to the 1998 amendment. This Court looks to five factors, including:

        (1) "whether the certification ruling is likely dispositive"; (2) "whether the

        district court's certification decision contains a substantial weakness";

        (3) "whether the appeal will permit the resolution of an unsettled legal

        question of general importance"; (4) "the nature and status of the litigation";

        and (5) "the likelihood that future events will make appellate review more or

        less appropriate." EQT Prod. Co. v. Adair, 764 F.3d 347, 357 (4th Cir. 2014).




        of the existing classes, plaintiffs pointedly did not say that they were seeking
        the vacatur of the recertified classes, nor did they disclaim classes consisting
        in whole or in part of SPG members who agreed to a class-action waiver. Id.
        Plaintiffs' transparent attempt to insulate the district court's order from
        review only underscores the need for relief. The class-action waiver is
        enforceable and dispositive, and there is no effective way to resolve that
        issue without this Court's review.

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              Review is appropriate here because the district court manifestly erred

        on five recurring issues of law that are likely to be dispositive of one of the

        largest data-incident class actions in history.

        I.    Participation In An MDL Does Not Relinquish Contract Rights.

              The district court held that Marriott relinquished its right to enforce

        the parties' class-action waiver by agreeing to participate in the MDL.

        Appl0-11. That ruling was not based on whether, when, or how often

        Marriott asserted the class-action waiver in the MDL proceeding: Marriott

        followed the "consensus" practice by raising the waiver at class certification.

        App31-32. Nor was the ruling based on the court's "on the scene" knowledge

        of the case's "litigation dynamics." App32-33. Judge Bailey had no such

        knowledge; he was assigned this case after this Court's remand. Dkt. 1134.

              Instead, the court held that Marriott could never invoke its class-

        waiver defense once it agreed to an MDL. Appl0-11. That holding is

        unprecedented. No court has ever held that litigants give up their contract

        rights and defenses merely by acquiescing to pretrial proceedings in an MDL.

        The district court's ruling defies both law and logic. Marriott did not, by dint

        of this MDL, disavow its class-waiver defense or any other contract rights,

        whether venue or choice of law.


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                A.   To begin, the district court's ruling conflicts with an unbroken

        line of authority enforcing class-action waivers in MD Ls. See, e.g., Lombardi

        v. DirecTV, Inc., 549 F. App'x 617, 619-20 (9th Cir. 2013); Inre Checking Acct.

        OverdraftLitig., 672 F.3d 1224, 1226, 1230 (11th Cir. 2012); Inre H & R Block

        Refund Anticipation Loan Litig., 59 F.Supp.3d 903,906,910 (N.D. Ill. 2014);

        In re Jamster Mktg. Litig., 2008 WL 4858506, at *1, *8 (S.D. Cal. Nov. 10,

        2008), amended, 2009 WL 250089 (S.D. Cal. Feb. 2, 2009). The district court

        did not acknowledge, much less distinguish, this wall of precedent. Nor did

        the district court cite any contrary precedent, as none exists. No other court

        has held that participation in an MDL repudiates an agreement to litigate

        individually rather than as a class.

                The district court also misapprehended both the text of the class-

        action waiver and the nature of an MDL. The district court said that simply

        agreeing to an MDL disavowed the provision because an MDL is the

        "antithesis" of a pledge to resolve disputes "individually without any class

        action." App9-10. Not so. The parties did not agree to resolve their disputes

        "individually without any MDL"; they agreed to resolve them "individually

        without any class action." That is precisely what Marriott is seeking in this

        case.


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              Nor is an MDL antithetical to "individually" litigating a case. App9.

        Parties in an MDL do not act in a representative capacity (as they do in class

        actions). In an MDL, the constituent cases "remain fundamentally separate

        actions," temporarily brought together for pretrial proceedings then

        remanded back to their courts of origin for trial. In re Korean Air Lines Co.,

        Ltd., 642 F.3d 685, 700 (9th Cir. 2011). An MDL thus treats the underlying

        claims-on the merits-individually.

              The district court not only misunderstood the nature of MD Ls in

        general-it also misunderstood the history of this one in particular. When

        Marriott agreed to the MDL, plaintiffs had not yet invoked the SPG Terms

        to define their contract classes, nor had Judge Grimm blue-penciled the non-

        contract classes to limit class membership to SPG members. Instead,

        Marriott faced dozens of plaintiffs asserting nearly 100 claims arising under

        31 different contracts, most of which did not contain a class-action waiver.

              Waiver requires "a clear manifestation of intent by [the] defendant to

        relinquish" the contractual right. Gilbert Frank Corp. v. Fed. Ins. Co., 520

        N.E.2d 512, 514 (N.Y. 1988); see 200 E. 87th St. Assocs. v. MTS, Inc., 793




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        F.Supp. 1237, 1251 (S.D.N.Y. 1992). 2 Marriott hardly could have clearly

        manifested an intent to relinquish a right before plaintiffs put it at issue.

              Even then, Marriott affirmatively raised its class-waiver defense not

        only when opposing class certification, but also in its motion to dismiss, in its

        Answer, and during discovery, including in response to plaintiffs' own

        interrogatory asking Marriott to identify which contract(s) contained the

        class-action waiver invoked in Marriott's Answer. Plaintiffs thus knew full

        well that if they chose to define their classes in reference to the SPG Terms,

        Marriott would defend against certification with the class-action waiver. On

        this record, the district court's suggestion that Marriott's assertion of the

        class-action waiver came as an unfair surprise could not be further from

        reality. Compare Appl2-13, with supra at 5-6; App32.

              Marriott did not intentionally and clearly relinquish a right it

        affirmatively and timely invoked; nor could it have intentionally and clearly



        2 Judge Bailey used the terms "waiver" and "forfeiture"-two distinct
        concepts with distinct legal tests-without making clear which he was
        analyzing. Appl0-13. This Court in the prior appeal suggested that Marriott
        had not forfeited its class-action waiver argument because it had raised the
        defense at the proper stages of litigation (in its Answer and at class
        certification). See App32. Marriott therefore construes Judge Bailey to have
        been analyzing the doctrine of waiver, which concerns intentional acts of
        relinquishment rather than timing.

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        relinquished a right by agreeing to an MDL-something no court has ever

        before held. Appellate review is imperative to correct this gravely erroneous

        decision.

              B.    The district court further held that mere participation in an

        MDL waived the SPG Terms' venue and choice-of-law clauses. This

        apparently also meant Marriott waived the class-action waiver because all

        three clauses are in the same provision of the SPG Terms. App9-12. Both this

        conclusion and its premise are fundamentally flawed.

              Even if Marriott had relinquished other provisions of the SPG Terms,

        that would not matter. The SPG Terms contain a severability clause: "If any

        part of the[] SPG Program Terms is held to be unlawful or unenforceable,

        that part will be deemed deleted ... and the remaining provisions will remain

        in force." Dkt. 1022-34 at 21. The SPG Terms also contain a no-waiver clause:

        "[F]ailure to insist upon strict compliance ... will not be deemed a waiver of

        any rights." Id. These commonplace provisions allow the parties to enforce

        each contract right as a standalone commitment. See Faggiano v. CVS

        Pharmacy, Inc., 283 F.Supp.3d 33, 35, 37-38 & n.4 (E.D.N.Y. 2017). If another

        term is found invalid or waived, that does not touch the class-action waiver.

        See GMS Indus. Supply, Inc. v. G & S Supply, LLC, 441 F.Supp.3d 221, 228


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        (E.D. Va. 2020) ("[T]he clauses are divisible because they each impose unique

        requirements .... Their placement in the same paragraph does not alter that

        conclusion."). The district court failed even to acknowledge these provisions,

        much less enforce them.

              Regardless, agreeing to an MDL does not waive venue or choice oflaw.

        That has to be the rule because here, as is typical of MD Ls, there are multiple

        contracts at issue with competing venue and choice-of-law clauses. See supra

        at 5. At the outset, when plaintiffs had not yet clarified which contracts they

        were relying on, the question of which clause(s) should govern was not ripe.

        Agreeing to an MDL did not and could not decide those issues. An MDL is

        merely "an artificial forum created for purposes of convenience and

        efficiency." Looper v. Cook Inc., 20 F.4th 387, 392 (7th Cir. 2021) (quotation

        marks omitted). Venue questions in the constituent cases-including

        applicable venue clauses-are resolved after pretrial proceedings in the

        MDL conclude.3




        3See, e.g., In re Park West Galleries, Inc., Mktg. & Sales Pracs. Litig., 655
        F.Supp.2d 1378, 1379 (J.P.M.L. 2009); In re SFBC Int'l, Inc., Sec. &
        Derivative Litig., 435 F.Supp.2d 1355, 1356 (J.P.M.L. 2006); Pfizer, Inc. v.
        Lord, 447 F.2d 122, 124-25 (2d Cir. 1971).

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              As to choice of law, the district court believed that Marriott acquiesced

        to non-New York claims (in contravention of the SPG choice-of-law clause)

        by participating in the bellwether process. Appll. But that conclusion

        disregards the facts. The parties expressly agreed during bellwether

        selection that "neither party was waiving any arguments it may have

        regarding choice of law and that each party is reserving its rights as to the

        same." Dkt. 368; see also Dkt. 451 at 2 n.1 (Marriott reserved choice-of-law

        arguments in motion to dismiss). That reservation is consistent with the

        common practice of addressing choice of law at summary judgment. E.g.,

        Francis v. Allstate Ins. Co., 709 F.3d 362, 364, 369 (4th Cir. 2013). And

        Marriott's reservation is certainly not the intentional relinquishment of a

        known right.

              The district court's contrary decision threatens far-reaching

        consequences. If allowed to stand, it will undermine the very purpose of

        multidistrict litigation. No rational defendant would ever agree to an MDL

        if doing so meant repudiating or even risking their contract rights and

        defenses-much less ones in contracts not yet at issue. This Court should

        intervene to make clear that a defendant does not lose properly preserved

        defenses by acquiescing to MDL procedures.


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        II.   Rule 23 Does Not Bar Standalone Class-Action Waivers.

              The district court made a second sweeping and incorrect ruling about

        class-action waivers: that Federal Rules of Civil Procedure 23 and 42 "leave[]

        no room" for "private agreements among litigants" to a standalone "waiver

        of consolidated or class-wide adjudication." Appl 7, App19 (quoting

        Martrano v. Quizno's Franchise Co., LLC, 2009 WL 1704469, at *20-21 (W.D.

        Pa. June 15, 2009)).

              No circuit court has ever so held. The overwhelming weight of

        authority      says   the   opposite   and    approves     class-action   waivers

        unaccompanied by arbitration agreements. See, e.g., Lindsay v. Carnival

        Corp., 2021 WL 2682566, at *3-4 (W.D. Wash. June 30, 2021); Korea Wk., Inc.

        v. Got Cap., LLC, 2016 WL 3049490, at *7-11 (E.D. Pa. May 27, 2016); Crews

        v. TitleMax of Del., Inc., 2023 WL 2652242, at *3-4 (M.D. Pa. Mar. 27, 2023);

        Dimery v. Convergys Corp., 2018 WL 1471892, at *6 (D.S.C. Mar. 26, 2018).

              The district court contended that its authority over "judicial

        administration" meant it could unilaterally annul the parties' contractual

        agreement not to pursue classwide relief. But the Supreme Court has made

        clear that Rule 23 does not establish a "nonwaivable" "entitlement to class

        proceedings." Am. Exp. Co. v. Italian Colors Rest., 570 U.S. 228,234 (2013).


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        Thus, where parties have contracted to waive class actions, a court may not

        "erase that expectation" to "vindicate federal policies." Id. Construing Rule

        23 otherwise would be "an 'abridg[ment]' ... of a 'substantive right' forbidden

        to the Rules" under the Rules Enabling Act. Id.

              Class-action waivers are also perfectly consistent with the plain text

        of Rule 23. A plaintiff who has agreed not to pursue class relief simply cannot

        satisfy the requirements for certification, including: (1) that the plaintiff

        "may sue ... as representative parties on behalf of all members"; (2) that the

        plaintiff's claims are typical of the class; and (3) that a class action is the

        "superior" and "fair" method of resolving the claims. That is why, as this

        Court recognized, "[c]ourts consistently resolve the import of class waivers

        at the certification stage-before they certify a class." App31.

              The district court rested its contrary view on a lone unpublished 2009

        magistrate judge opinion from outside this Circuit, predating Italian Colors.

        Appl6-19 (citing Martrano, 2009 WL 1704469). The court also mistakenly

        invoked Sliady Grove Ortlwpedic Associates, P.A. v. Allstate Insurance Co.,

        559 U.S. 393 (2010). There, in a 4-1-4 split, the Supreme Court held that a

        New York statute prohibiting class actions for statutory damages should not

        be applied by a federal court sitting in diversity in light of Rule 23. The Court


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        weighed whether New York and federal rules "address different issues" or

        conflict; a plurality stated the Rules Enabling Act should govern. Id. at 398-

        99. The Supreme Court did not consider-much less question-the legality

        of private contracts containing class-action waivers.

              The fact that the SPG Terms do not also require the parties to

        arbitrate their disputes changes nothing. App14-15. Indeed, it "makes little

        sense that an arbitration agreement could take the more drastic step of

        entirely waiving a federal court forum, including the right to proceed

        collectively, but a[nother] ... contract could not waive the right to proceed

        collectively in court while preserving the right to bring suit on an individual

        claim." Mazurkiewicz v. Clayton Homes, Inc., 971 F.Supp.2d 682,692 (S.D.

        Tex. 2013). Consistent with that logic, federal courts routinely enforce class-

        action waivers independent of arbitration provisions, including under New

        York law. See, e.g., supra at 18; U1it4Less, Inc. v. FedEx Corp., 2015 WL

        3916247, at *3-4 (S.D.N.Y. June 25, 2015); Convergys Corp. v. Nat'l Lab. Rels.

        Bd., 866 F.3d 635, 639 (5th Cir. 2017); Jeong v. Nexo Cap. Inc., 2022 WL

        3590329, at *14-15 (N.D. Cal. Aug. 22, 2022); DeLuca v. Royal Caribbean

        Cruises, Ltd., 244 F.Supp.3d 1342, 1347-49 (S.D. Fla. 2017); Palmer v.

        Convergys Corp., 2012 WL 425256, at *2-3 (M.D. Ga. Feb. 9, 2012).


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              The district court's breathtaking holding that the parties' class-action

        waiver is unenforceable under federal law calls out for review and reversal.

        This rule would vitiate the settled expectations of contracting parties,

        contrary to governing law. See Mey v. DIRECTV, LLC, 971 F.3d 284,295 (4th

        Cir. 2020) ("As with any contract, it is not our place to disturb the parties'

        bargain or relieve a party of the obligations to which it agreed.").

              Finally, as part of its enforceability analysis, the district court

        suggested that the class-action waiver may not be enforceable because it

        appears "on the last page" of the SPG Terms. App9, App20. There is no

        ignore-the-last-page canon of contract construction. 4 To the extent the

        district court suggested otherwise, 23(f) review is warranted.

        III. Class Membership Cannot Be Ascertained Without Millions ofMini-
              Trials.

              The recertified classes again fail Rule 23's "threshold requirement that

        the members of a proposed class be 'readily identifiable"'-i.e., ascertainable.


        4 The district court characterized the SPG Terms as "adhesive." App20. If
        the court was suggesting the waiver is unconscionable, that is wrong.
        Plaintiffs forfeited that argument. See Dkt. 1138 at 11-12. And New York
        law sets a "high standard of proof," requiring evidence of procedural and
        substantive unconscionability. Marvel Ent. Grp., Inc. v. Young Astronaut
        Council, 1989 WL 129504, at *4 (S.D.N.Y. Oct. 27, 1989); Gillman v. Chase
        Manhattan Bank, N.A., 534 N.E.2d 824, 828 (N.Y. 1988). Plaintiffs showed
        neither. See Dkt. 1138 at 12-17.

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        EQT, 764 F.3d at 358. Discovery revealed that the named plaintiffs were

        reimbursed for the vast majority-nearly 90%-of their stays overall, and

        approximately 30% of the named plaintiffs were reimbursed for every stay.

        See Dkt. 885, Exs. 40-54. To avoid classes comprising "large numbers" of

        persons who were reimbursed, and thus had no "overpayment" injury, the

        district court redefined classes to include only "persons who bore the

        economic burden" of their stays. Krakauer v. Dish Network, LLC, 925 F.3d

        643,658 (4th Cir. 2019); Dkt. 1014 at 9-11. 5

              The court was right to recognize that classes must consist only of those

        persons who were not reimbursed. But it was wrong that it could fix the

        problem by defining the classes to include only injured plaintiffs. There is no

        way to determine which would-be class members were not reimbursed after

        the fact "without extensive and individualized fact-finding or 'mini-trials."'

        EQT, 764 F.3d at 358. And that means Rule 23's threshold ascertainability

        requirement cannot be satisfied.




        5Because Judge Bailey "reinstate[d] the classes as certified by Judge Grimm"
        without providing any additional analysis, App20, references hereinafter to
        the district court's reasoning refer to Judge Grimm's vacated certification
        order, Dkt. 1014.

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              Ignoring the unworkability of the undertaking, the district court

        posited that 20 million class members could simply supply ''bank and credit

        card statements." Dkt. 1014 at 16. Even that would not prove a negative:

        non-reimbursement. In EQT, this Court vacated certification where class

        membership likewise required proof of a negative-that individuals "never

        received [certain] royalties." 764 F.3d at 355. Ascertaining membership

        would require "complicated and individualized" review of records, which

        might or might not resolve class membership, so no class could be certified.

        Id. at 359-60. So, too, here.

              The district court was also wrong to suggest that individual injury

        questions could be handled by a claims administrator after trial. Dkt.1014 at

        17. Article III forbids courts from holding trials first and worrying about

        standing later. Every class member's standing "must be supported

        adequately by the evidence adduced at trial," not after. Trans Union LLC v.

        Ramirez, 141 S. Ct. 2190, 2208 (2021). This aspect of the recertification order

        requires reversal.




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        IV.   Plaintiffs' Damages Model Does Not Satisfy Rule 23.

              The recertified classes also fail Rule 23 because, even apart from

        reimbursement issues, plaintiffs have no means of calculating classwide

        overpayment damages.

              Before certifying, "courts must conduct a 'rigorous analysis' to

        determine whether'' plaintiffs' damages model can support classwide

        calculation of damages, Comcast, 569 U.S. at 35-including "examin[ing]

        whether any statistical assumptions made" in plaintiffs' damages model are

        "reasonable," Brown v. Nucor Corp., 785 F.3d 895, 904 (4th Cir. 2015). "[T]he

        reliability of [plaintiffs' damages] model[] may not be deferred or deflected

        to a trial on the merits .... [and] instead must be shown, at this [certification]

        stage, to be suitably rigorous." In re Aluminum Warehousing Antitrust

        Litig., 336 F.R.D. 5, 49 (S.D.N.Y. 2020) (citing Comcast, 569 U.S. at 35).

        Plaintiffs' damages model cannot determine classwide which plaintiffs

        overpaid, let alone by how much. Plaintiffs' expert never tested the model's

        foundational assumption, and Marriott's expert disproved it.

              Plaintiffs' damages model purports to measure "overpayment"-the

        difference between what a class member actually paid for a stay versus what

        she theoretically would have paid had she known about the data incident.


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        Dkt. 1014 at 32-33. Plaintiffs' expert, Dr. Prince, initially proposed an

        individualized analysis for every single stay to compare Marriott's prices to

        competitors' prices in the same region on the same date. But that proved

        unworkable, as Dr. Prince conceded. Dkt. 885 at 20-21. So Dr. Prince changed

        his approach, suddenly claiming that he could determine damages classwide

        by extrapolating the delta between Marriott's and competitors' rates across

        all prices and all times from a single datapoint.

              Dr. Prince's new approach depended on an untested assumption: Hotel

        prices always move in sync. Dkt.905-41 43. For every stay at every hotel

        during the class period, Dr. Prince theorized that Marriott's prices rose and

        fell in sync with its competitors 100% of the time. Dr. Prince "didn't do a

        formal check" of whether his assumption of "co-movement" was correct. See

        Dkt. 961 at 4. The "totality" of his support was a lone academic article, which

        is not even about co-movement. Compare Dkt. 905-4 1 43, with Sungjin Cho

        et. al., Optimal Dynamic Hotel Pricing 16 (2018) (relevant article examining

        "seven [unnamed] luxury hotels operating in a tightly defined local area" and

        concluding that co-movement is not an optimal pricing strategy).

              By contrast, Marriott's expert tested "co-movement" and disproved it.

        Dkt. 985 1 19. Using the data from the six markets Dr. Prince studied,


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        Marriott's expert examined the relative prices of ten hotels across the

        markets. Id. ,r 20. That data revealed that hotels' relative price ranking

        changed frequently over time. Id. That is, rather than moving up and down

        at a steady rate relative to each other, the prices of different hotels moved

        in unconnected, unpredictable, and often opposite ways.

                 Because plaintiffs failed to "affirmatively demonstrate" that their

        damages model can measure classwide damages, the recertification order

        must be vacated. Comcast, 569 U.S. at 33. "No damages model, no

        predominance, no class certification." In re Rail Freight Surcharge Antitrust

        Litig., 725 F.3d 244, 253 (D.C. Cir. 2013).

        V.       The District Court Misused Rule 23(c)(4).

                 Finally, the district court erred by certifying "issue only" negligence

        classes. Accenture will address issue classes, and Marriott joins Accenture's

        arguments in full.

                                         CONCLUSION

                 This Court should grant the petition and vacate the recertification

        order.




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                                CERTIFICATE OF SERVICE

              I hereby certify that on December 13, 2023, I electronically filed the

        foregoing petition with the Clerk of Court for the United States Court of

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                           CERTIFICATE OF COMPLIANCE

              I hereby certify that:

              1.    This petition complies with the type-volume limitation of Fed. R.

        App. P. 5(c) and 32(c)(2) because this petition contains 5,174 words, excluding

        the parts of the petition exempted by Fed. R. App. P. 32(f).

              2.    This petition complies with the typeface requirements of Fed. R.

        App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

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                        APPENDIX
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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND
                                           Greenbelt Division


        IN RE:MARRIOTT INTERNATIONAL
        CUSTOMER DATA SECURITY BREACH                                    MDL No. 19-md-2879
        LITIGATION



                                  MEMORANDUM ORDER AND OPINION

                 Pending before this Court is Plaintiffs' Motion for Class Certification [Doc. 858],

        which has generated rounds and rounds of briefing. For the reasons hereinafter stated,

        the Motion will be granted.

                 The facts of this case are well set out in the opinion of the United States Court of

        Appeals for the Fourth Circuit in In re Marriott International, Inc., 78 F.4th 677 (4th Cir.

        2023):

                        In November 2018, Marriott International, Inc., disclosed that it had

                 been subject to a massive data breach: From July 2014 to September 2018,

                 hackers had access to the guest reservation database of a hotel chain,

                 Starwood Hotels & Resorts Worldwide, that Marriott had purchased

                 mid-breach in September 2016.       Through the Starwood database, the

                 hackers were able to view customers' personal information, including names,

                 mailing addresses, birth dates, email addresses, phone numbers, and, in

                 some cases, passport and payment card information. The compromised

                 information was associated with both regular guests and those who were




                                                      1



                                                   App. 1
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              members of the Starwood Preferred Guest Program. In total, the breach

              affected roughly 133.7 million guest records within the United States.

                     Consumer plaintiffs across the country began filing lawsuits against

              Marriott. The suits claimed, in collective effect, that Marriott failed to take

              reasonable steps to protect its customers' personal information against the

              foreseeable risk of a cyberattack, giving rise to tort liability.   They also

              alleged that Marriott had breached contractual and statutory duties the

              company owed to its customers. Thos~ actions were ultimately consolidated

              in multi-district litigation in the District of Maryland, where Marriott is

              headquartered. The plaintiffs added as a defendant Accenture LLP, a

              third-party provider of IT services to Starwood and then Marriott during the

              relevant period.

                     In their operative complaint, the plaintiffs asserted various state-law

              contract and statutory consumer-protection claims against Marriott, along

              with state-law tort claims for negligence against both Marriott and Accenture.

              Marriott and the plaintiffs then identified ten "bellwether" claims to test the

              sufficiency of the pleadings; each was keyed to the law of a particular state,

              with the named plaintiffs from the selected state serving as the bellwether

              plaintiffs. The plaintiffs and Accenture followed a similar process to identify

              test jurisdictions and named plaintiffs for the state-law negligence claims

              against that defendant. Marriott and Accenture then moved to dismiss the

              representative plaintiffs' claims.



                                                     2



                                                   App. 2
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                     The district court denied the defendants' motions in relevant part,

              allowing the plaintiffs' claims to proceed. See In re Marriott Int'/, Inc.,

              Customer Data Sec. Breach Litig. (Marriott/), 440 F.Supp.3d 447 (D. Md.

              2020); In re Marriott Int'/, Inc., Customer Data Sec. Breach Litig.

              (Marriott II), 2020 WL 6290670 (D. Md. Oct. 27, 2020). Most important

              here, the district court held that the named plaintiffs had adequately alleged

              "injury in fact" for purposes of Article Ill standing, and in so doing, it identified

              the theories of harm that would go on to guide the class certification litigation.

              Marriott I, 440 F. Supp. 3d at 456-66; Marriott II, 2020 WL 620670, at *4-5

              (incorporating reasoning of Marriott/). Everyone agreed that plaintiffs who

              had experienced actual "fraudulent misuse of their personal information" had

              suffered a cognizable injury. Marriott I, 440 F.Supp.3d at 456 n.4, 460 n.6.

              But the district court also found, as relevant here, that the remaining plaintiffs

              had advanced three other forms of injury sufficient to establish standing: (1)

              that they had spent time and money mitigating a non-speculative threat of

              identity theft (the "mitigation" theory); (2) that the cyberattack had deprived

              them of the inherent market value of their personal identifying information

              (the "loss of market value" theory); and (3) that they had paid more for their

              hotel rooms than they would have had they known of Marriott's allegedly lax

              data-security practices (the "overpayment" theory). Id. at 460-66.




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                                                    App. 3
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                                                    B.

                     The plaintiffs moved to certify various classes, and in the decision now

              before us, the district court granted that motion in part. See In re Marriott

              Int'/, Inc., Customer Data Sec. Breach Litig. (Marriott Ill), 341 F.R.D. 128

              (D. Md. 2022). On the plaintiffs' contract and consumer-protection claims

              against Marriott, the court certified three state-specific damages classes

              under Rule 23(b)(3) of the Federal Rules of Civil Procedure. Id. at 172-73.

              And on the plaintiffs' negligence claims against Marriott and Accenture, the

              court certified four state-specific "issue" classes under Rule 23(c)(4), limited

              to the elements of duty and breach, with individualized proceedings on injury,

              causation, and the amount of damages to follow. Id. at 173. Our ruling today

              turns primarily on the import of a class-action waiver signed by members of

              the damages classes against Marriott. But that issue is intertwined with

              others in this complex proceeding, and the defendants' objections are

              wide-ranging, so we lay out much of the district court's comprehensive

              opinion below.

                                                     1.

              The district court began by returning to the question of the class

              representatives' standing. Id. at 140-43. The court relied mostly on its prior

              analysis from the motion to dismiss stage, reasoning that the same

              evidentiary burden applied through class certification and until summary

              judgment, at which point the defendants could raise further standing



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              challenges. Id. at 141. The district court did, however, make one adjustment

              to the scope of the damages classes against Marriott in response to standing

              concerns. Those classes, the court explained, relied in critical part on an

              alleged "overpayment" injury: The class members paid more for their hotel

              rooms than they were worth, given Marriott's data-security deficiencies. But

              as defined by the plaintiffs, Marriott argued, the classes also included

              customers, like those traveling for work, who were reimbursed for their stays

              and thus did not themselves incur the hypothesized economic injury. Id. at

              142. The district court agreed, and thus limited the classes proceeding on

              the overpayment theory of injury - the contract and consumer-protection

              classes against Marriott - to "persons who bore the economic burden for

              hotel room[s]" and were not reimbursed for their stays. Id. at 142-43.

                     That raised a second concern for Marriott: that the classes, so

              defined, were insufficiently "ascertainable" because there was no

              administratively feasible way of determining who was and was not a class

              member. See EQT Prod. Co. v. Adair, 764 F.3d 347, 358 (4th Cir. 2014)

              (discussing Rule 23's "implicit threshold requirement" that members of a

              proposed class be "readily identifiable" (internal quotation marks omitted)).

              Here, the district court disagreed, finding no reason to think - at least at

              present- that identifying class members who had paid their own way would

              call for any "exceptionally complicated administrative review." Marriott Ill,

              341 F.R.D. at 144. But the court cautioned that it would continue to monitor



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              this process, redefining the classes or even decertifying them altogether if

              identifying members proved too unwieldy. Id. at 146.

                                                     2.

                     The court turned then to the issue implicating the class-action waivers

              at the heart of this appeal: Rule 23(a)'s "typicality" requirement, under which

              a class representative's claims and defenses must be typical of those of the

              class. See Fed. R. Civ. P. 23(a)(3); Marriott Ill, 341 F.R.D. at 149. The

              problem here, as Marriott saw it, was that the class representatives, all

              members of the Starwood Preferred Guest Program ("SPG"), had a

              contractual relationship with Marriott that differed critically from that of other

              class members. As SPG members, every class representative had signed

              a "Terms & Conditions" contract with a provision purporting to waive his or

              her right to pursue class litigation. See J.A. 727 ("Any disputes arising out

              of or related to the SPG Program or the[ ] SPG Program Terms will be

              handled individually without any class action .... "). But as the plaintiffs had

              defined them, the consumer-protection and negligence classes against

              Marriott included non-SPG members, who had not signed such waivers. And

              that, the district court concluded, did indeed "raise[ ] serious typicality

              concerns," because Marriott had indicated that it would rely on the waiver to

              argue that SPG members - like the class representatives, but unlike many

              class members - could not pursue class litigation at all. Marriott Ill, 341

              F.R.D. at 149.



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                     To address that concern, the district court redefined all classes

              against Marriott to include only SPG members, bringing the class

              representatives into alignment with class membership. Id. The result, of

              course, was that now every proposed class member litigating against Marriott

              would be someone who had purportedly given up the right to engage in just

              such class litigation. But the district court did not further consider the import

              of the class waiver on its certification decision. Instead, in a footnote, it first

              observed that the plaintiffs had raised a "strong argument" that Marriott had

              waived its right to enforce the class-action waiver; though it was included as

              a "one-line, boilerplate affirmative defense" in Marriott's answer, Marriott had

              not otherwise pressed the issue as "part of the bellwether negotiation

              process" or in any separate motion. Id. at 149 n.26. And in any event, the

              court concluded, it could address the class-action waiver, along with other

              affirmative defenses, after discovery and at the merits stage of the litigation.

              Id.

                     After addressing other threshold Rule 23(a) requirements not at issue

              on appeal, the court proceeded to certify several state-specific Rule 23(b)(3)

              damages classes against Marriott on the plaintiffs'                contract and

              consumer-protection claims.        Here, the focus was on Rule 23(b )(3)'s

              predominance requirement, see Fed. R. Civ. P. 23(b)(3), which in this

              context meant that damages must be "capable of measurement on a

              classwide basis." Marriott Ill, 341 F.R.D. at 161 (quoting Comcast Corp. v.



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               Behrend, 569 U.S. 27, 34 (2013)). Though damages need not be calculated

               on a classwide basis, that is, the plaintiffs had to demonstrate that there was

               a "common, classwide method for determining individual damages." Id.

               (internal quotation marks omitted).        And as the court explained, it had

               approved just such a common method for calculating the plaintiffs' alleged

               overpayment injuries in a companion Daubert opinion issued the same day.

               Id. at 161-62 & n.48 (citing In re Marriott Int'/, Inc., Customer Data Sec.

               Breach Litig. (Marriott IV), 602 F. Supp. 3d 767 (D. Md. 2022))."

        In re Marriott International, Inc., 78 F.4th at 680-683.

               After the district court entered its certification order, Marriott and Accenture timely

        petitioned the Fourth Circuit for permission to appeal under Rule 23(f) of the Federal Rules

        of Civil Procedure. The Fourth Circuit granted the petitions.

               On appeal, the Fourth Circuit determined that the district court erred in not

        addressing the issue of whether the plaintiffs, by agreeing to the SPG Terms and

        Conditions, agreed to bar the certification of a class action. Accordingly, the Fourth Circuit

        vacated the class certification and remanded this case for consideration of the issue. The

        Court further found that, in the absence of a valid class certification against Marriott, the

        class certification against Accenture cannot stand. Accordingly, the class certification with

        regard to Accenture was vacated and remanded as well.

               Since the major issue on remand is the effect of the "class action waiver," it would

        appear prudent to first examine the provision. On the last page of the Pre-August SPG




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        Program Terms, there is a "class waiver" provision found in the choice of law and the

        venue section, as follows:

               13.21 Choice of Law and Venue. Any disputes arising out of or related to the

              SPG Program or these SPG Program Terms will be handled individually

              without any class action, and will be governed by, construed and enforced

              in accordance with the laws of the State of New York, United States, without

              regard to its conflicts of law rules. The exclusive jurisdiction for any claim or

              action arising out of or relating to these SPG Program Terms or the SPG

              Program may be filed only in the state or federal courts located in the State

              of New York, United States.

              This Court makes the following observations with regard to the Choice of Law and

        Venue provision:

               1.    The entire provision contains only two sentences;

              2.     The heading of the provision makes no reference to individual handling of

                     claims;

              3.     The provision is buried on the last page of the Terms;

              4.     While it has been described as a class action waiver, the provision is broader

                     than that, mandating the handling of all claims on an individual basis;

              5.     The provision requires that New York law apply to any dispute;

              6.     The provision limits the jurisdiction to handle any claims to the state and

                     federal courts of New York;

              7.     Rather than referencing the parties, this provision purports to control the

                     court's management of the litigation, i.e. will be handled individually.

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               The plaintiff's contend that Marriott waived or forfeited the provision by its inaction

        and action. A court may find that a party has waived a contractual provision when the party

        takes actions that are inconsistent with the provision. Waiver of an argument precludes

        review, while mere forfeiture of an argument permits plain error review. "Forfeiture 'is the

        failure to make the timely assertion of a right,' while 'waiver is the "intentional

        relinquishment or abandonment of a known right."' United States v. Olano, 507 U.S. 725,

        733 (1993) (quoting Johnson v. Zerbst, 304 U.S. 458,464 (1938))." Smith v. GC Servs.

        Ltd. P'ship, 907 F.3d 495, 498-99 (7th Cir. 2018).

               "There is no concrete test to determine whether a party has engaged in acts

        inconsistent with its right to arbitrate; rather, we consider the totality of the parties' actions."

        Hill v. Xerox Bus. Servs., LLC, 59 F.4th 457, 471 (9th Cir. 2023).

               "Outside the arbitration context, a federal court assessing waiver does not generally

        ask about prejudice.        Waiver, we have said, 'is the intentional relinquishment or

        abandonment of a known right.' United States v. Olano, 507 U.S. 725, 733 (1993)

        (internal quotation marks omitted). To decide whether a waiver has occurred, the court

        focuses on the actions of the person who held the right; the court seldom considers the

        effects of those actions on the opposing party." Morgan v. Sundance, Inc., 596 U.S. 411,

        417 (2022).

               In this case, this Court finds that Marriott waived the Choice of Law and Venue

        provision:

               1.      Marriott requested that all of the cases be consolidated into an MDL action.

        An MDL is the antithesis of handling each claim on an individual basis;



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               2.     When Marriott sought the MDL, it asked for "transfer and consolidation to

        eliminate duplicative discovery, avoid conflicting rulings, reduce litigation costs, and

        conserve the time and effort of the parties, attorneys, witnesses, and courts";

               3.     In seeking the MDL, Marriott added that "separately litigating each of the 59

        related actions, plus additional tag-alongs, offer no benefit and will inevitably heighten the

        duplication, complexity, and burdens of these matters for all stakeholders";

               4.     Marriott requested that the MDL be assigned to the District of Maryland,

        which is wholly inconsistent with the Choice of Law and Venue provision's requirement that

        any case be filed in New York;

               5.     Despite the Choice of Law and Venue provision, Marriott stated that venue

        was proper in the District of Maryland;

               6.     At status conferences in April and May, 2019, the parties jointly suggested

        a bellwether approach using plaintiffs from several states and claims under those various

        states' laws. For several of the states, Marriott nominated multiple representative plaintiffs.

        Again, this is wholly inconsistent with handling cases on an individual basis, in New York,

        applying only New York law.

               In the bellwether process, Marriott noted that it was not waiving any arguments it

        may have regarding choice of law and that each party is recerving its rights as to the same.

        However, a reservation of rights is not an assertion of rights.         Hooper v. Advance

        America Cash Advance Centers of Missouri, Inc., 589 F.3d 917, 923 (8th Cir. 2009).

               In its decision, the Fourth Circuit indicated that by citing the Choice of Law and

        Venue provision in its answer and only raising it in opposition to class certification, Marriott

        adequately preserved its individual claims provision. This Court respectfully disagrees.

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        The provision prohibits any collective handling of the claims, including by class action. It

        is not merely a class action waiver.

               It appears that Marriott having not fared as well as it had hoped in the bellwether

        process is now attempting to invoke one half of one third of the Choice of Law and Venue

        provision. It has clearly waived 5/6 of the provision. It now seeks to enforce the words

        "class action" completely out of context. Marriott should not be permitted to cherry-pick the

        rules from a provision, having waived every other term therein. "In this case, the arbitration

        agreement also included a waiver of the right to bring a class action suit. If GC Services

        waived any right to arbitrate, the company necessarily waived any right to oppose class

        certification premised on the agreement. See A.O. v. Credit One Bank, N.A., 885 F.3d

        1054, 1065 n.17 (7th Cir. 2018)." Smith v. GC Servs. Ltd. P'ship, 907 F.3d 495, 499 (7th

        Cir. 2018). "Individually without class action" is a single phrase - it is a single rule. And it

        has been waived.

               As the Supreme Court noted in Stern v. Marshall:

               We have recognized "the value of waiver and forfeiture rules" in "complex"

               cases, Exxon Shipping Co. v. Baker, 554 U.S. 471, 487-488, n. 6 (2008),

               and this case is no exception. In such cases, as here, the consequences of

               "a litigant ... 'sandbagging' the court-remaining silent about his objection

               and belatedly raising the error only if the case does not conclude in his

               favor," Puckett v. United States, 556 U.S. 129, 134 (2009) (some internal

               quotation marks omitted)-can be particularly severe. If Pierce believed that

               the Bankruptcy Court lacked the authority to decide his claim for defamation,



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               then he should have said so-and said so promptly. See United States v.

               Olano, 507 U.S. 725, 731 (1993) ("'No procedural principle is more familiar

               to this Court than that a constitutional right,' or a right of any other sort, 'may

               be forfeited ... by the failure to make timely assertion of the right before a

               tribunal having jurisdiction to determine it"' (quoting Yakus v. United States,

               321 U.S. 414, 444 (1944))).         Instead, Pierce repeatedly stated to the

               Bankruptcy Court that he was happy to litigate there. We will not consider

               his claim to the contrary, now that he is sad.

        Stern v. Marshall, 564 U.S. 462, 481-82 (2011 ).

               This Court also has reservations as to the validity of the Choice of Law and Venue

        provision, even were it not waived. In Shady Grove Orthopedic Assoc. v. Allstate Ins.

        Co., 559 U.S. 393 (2010), the United States Supreme Court held that a New York statute

        precluding a class action to recover a penalty such as statutory interest was invalid

        because it conflicted with Rule 23 of the Federal Rules of Civil Procedure.

               The Fourth Circuit, relying on Shady Grove, held that a West Virginia state statute

        requiring a pre-filing expert report for a claim of medical malpractice conflicted with the

        Federal Rules of Civil Procedure and was invalid in Federal court. Pledger v. Lynch, 5

        F.4th 511 (4th Cir. 2021 ).

               In Johnson v. West Virginia Univ. Bd. of Govs., 2022 WL 908496, at *13 (S.D.

        W.Va. March 29, 2022) (Johnston, C.J.), the Court held that "[t]he applicability of the

        Shady Grove analysis is not limited to cases involving federal question jurisdiction-which

        was the case in Pledger--rather, cases involving diversity jurisdiction and supplemental



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        jurisdiction are also within Shady Grove's purview. See Doe #5 v. Raleigh General

        Hospital, LLC., 2021 WL 4496241, at *5 (S.D. W.Va. Sept. 30, 2021) [(Volk, J.)] ('Simply

        put, the conflict between the pre-suit notice and the Federal Rules of Civil Procedure does

        not dematerialize in diversity actions. Pledger applies just the same.')." Chief Judge

        Johnston added that "Pledger's holding is categorical: 'state-law certification requirements

        like West Virginia's [MPLA] are inconsistent with the Federal Rules of Civil Procedure, and

        thus displaced by those rules in federal court.' Pledger, 5 F.4th at 514. It was of no

        consequence that Pledger's claims were brought pursuant to the FTCA and invoked the

        court's federal question jurisdiction, as claims brought under the FTCA 'incorporate[ ]

        state-law rules of "substantive liability," [but] not procedure.' Id. at 523 (citing FDIC v.

        Meyer, 510 U.S. 471, 478 (1994)). Similarly, here, it is of no consequence that Plaintiffs

        claims were brought pursuant to the MPLA, thereby invoking this Court's supplemental

        jurisdiction. Pledger's holding, and the Shady Grove analysis set forth therein, are

        applicable in this case because it is in federal court, notwithstanding this Court's jurisdiction

        over Plaintiff's claims." Johnson, 2022 WL 908496, at *13.

               Marriott cites a number of cases which have found class action waivers to be

        enforceable. Many of these case dealt with class action waivers in the arbitration context.

        American Express Co. v. Italian Colors Restaurant, 570 U.S. 228 (2013); Viking River

        Cruises, Inc. v. Mariana, 596 U.S. _, 142 S.Ct. 1906 (2022); In re Titanium Dioxide

        Antitrust Litigation, 962 F.Supp.2d 840 (D. Md. 2013); County of Orange v. United

        States District Court, 784 F.3d 520 (9th Cir. 2015). Of course, where the parties agree

        to resolve their case in a non-judicial forum, the Federal Rules have limited applicability.



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               Marriott has, however, cited to some cases which have upheld class action waivers

        in a non-arbitral context. In Crews v. Titlemax of Delaware, Inc., 2023 WL 2652242

        (M.D. Pa. March 27, 2023), the District Court upheld a stand alone class waiver, finding

        that Shady Grove did not address whether the parties, through contract, can waive their

        right to bring claims as part of a class.

               Similarly, in Deluca v. Royal Caribbean Cruises, LTD, 244 F.Supp.3d 1342 (S.D.

        Fla. 2017), the District Court upheld the validity of a waiver where the first paragraph of the

        ticket contract contains balded language specifically directing passengers to important

        terms and conditions. The notice states:

                                    IMPORTANT NOTICE TO GUESTS

        YOUR     CRUISE/CRUISETOUR            TICKET     CONTRACT        CONTAINS       IMPORTANT

        LIMITATIONS ON THE RIGHTS OF PASSENGERS. IT IS IMPORTANT THAT YOU

        CAREFULLY READ ALL TERMS OF THIS CONTRACT, PAYING PARTICULAR

        ATTENTION TO SECTION 3 AND SECTION 9 THROUGH 11, WHICH LIMIT OUR

        LIABILITY AND YOUR RIGHT TO SUE, AND RETAIN IT FOR FUTURE REFERENCE.

               Paragraph 9(b) contained a class action relief waiver printed in all caps.

               This Court finds the above cases to be unpersuasive. In this case the Choice of

        Law and Venue provision does not state that SPG members will not bring or participate in

        class actions. Rather, it seeks to limit this Court's own authority by stating that "[a]ny

        disputes ... will be handled individually." The parties cannot by agreement dictate that a

        district court must ignore the provisions of Rule 23 of the Federal Rules of Civil Procedure.




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               In Martrano v. Quizno's Franchise Co., L.L.C., 2009 WL 1704469 (W.D. Pa. June

        15, 2009), Magistrate Judge Lenihan reviewed a defense request that the plaintiffs be

        barred from participating in a class action or consolidation based upon a contractual bar.

               The Court analyzed the issue as follows:

                     "[F]ederal courts sitting in diversity apply state substantive law and

              federal procedural law." Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d

              216 (3d Cir. 2005), quoting Gasperini v. Center for Humanities, Inc., 518

               U.S. 415, 427 (1996). Although classification of a law as 'substantive' or

               'procedural' for this purpose is "sometimes a challenging endeavor", id.,

              "[c]oncerning matters covered by the Federal Rules of Civil Procedure, the

              characterization question is usually unproblematic: It is settled that if the Rule

               in point is consonant with the Rules Enabling Act, 28 U.S.C. § 2072, and the

              Constitution, the Federal Rule applies regardless of contrary state law."

              Gasperini, 518 U.S. at 427 n. 7. Thus,

                             When a situation is covered by one of the Federal Rules

                      ... the court has been instructed to apply the Federal Rule, and

                     can refuse to do so only if the Advisory Committee, this Court,

                     and Congress erred in their prim a facie judgment that the Rule

                     in question transgresses neither the terms of the Enabling Act

                     nor constitutional restrictions.

              Hanna v. Plumer, 380 U.S. 460, 471 (1965), quoted in Stewart

              Organization, Inc. v. Ricoh Corp., 487 U.S. 22, 27(1988).



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                     Consolidated and class-wide adjudication are clearly procedural

              devices governed by specific Federal Rules.         See Fed.R.Civ.P. 23, 42.

              Accordingly, the question before the court is whether giving effect to a

              purported waiver of consolidated or class-wide adjudication would comport

              with the language and purpose of those Rules. For the reasons explained

              below, this Court concludes that it would not.

                     This Court has, after extensive review, located no case authorities

              addressing the proper role of contractual waivers by the parties in class

              action or consolidation determinations under Rules 23 or 42. Virtually all of

              the reported cases on contractual class action waivers involve mandatory

              arbitration   clauses,   a   circumstance    that   renders    them    patently

              distinguishable from the present case. Simply stated, whether the parties

              may effectively agree, as a matter of State contract law, to constrain the

              procedures to be followed in a privately-contracted dispute resolution has

              little apparent bearing on whether such an agreement also constrains a

              federal court's application of its own rules, whose authority derives from a

              federal statute (and ultimately from the Constitution) rather than from a

              private contract.

                     The Court does find guidance, however, in cases considering the

              effect of contractual forum-selection agreements on federal venue.            In

              Stewart Organization, the Supreme Court "rejected the ... contention that

             the effect .. . of a forum selection clause should be a matter purely of

             contractual interpretation governed by state law", instead requiring the district

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              court to "determine whether to give the clause effect by transferring the case

              to ... the contractually specified forum" by applying on the standards laid out

              in .the federal change of venue statute, 28 U.S.C. § 1404(a). Jumara v.

              State Farm Ins. Co., 55 F.3d 873,878 (3d Cir. 1995). The Court accordingly

              concluded that [t]he forum-selection clause, which represents the parties'

              agreement as to the most proper forum, should receive neither dispositive

              consideration ... nor no consideration ... , but rather the consideration for

              which Congress provided in§ 1404(a)." Stewart Organization, 487 U.S. at

              31. Thus, rather than being treated as a binding agreement overriding

              otherwise applicable venue standards, "a forum selection clause is treated

              as a manifestation of the parties' preferences as to a convenient forum",

              which is a factor encompassed within the framework of§ 1404. Jumara, 55

              F.3d at 880.54

                                          *      *        *

                     More particularly, if the prerequisites of Rule 23(a) are satisfied,

              whether a class action may be maintained turns on whether injunctive or

              declaratory relief is warranted for the whole class by defendants' conduct on

             grounds that apply generally to the class, or whether common questions

              predominate over individual questions and a class action is superior to other

              methods of adjudication. See Fed.R.Civ.P. 23(b)(2),(3). These controlling

             standards make no mention of whether a class action is preferred by the

              parties. Likewise, as long as actions involve a common question of law or



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              fact, Rule 42(a) contemplates issuance of consolidation orders "to avoid

              unnecessary cost or delay"-a standard that also does not call for

              consideration of the parties' preferences. Under both Rule 23 and Rule 42,

              the ultimate governing standard is furtherance of efficient judicial

              administration, which leaves no room for enforceability of private agreements

              among litigants to forego the efficiencies potentially afforded by consolidated

              or class adjudication.

                     This is not just an academic issue. Defendants' invocation of the

              Agreement's class action I consolidation waiver could potentially force this

              and other courts to hold separate trials of dozens, or hundreds, or even

              thousands of cases involving extensively overlapping issues. Such a result

              is flatly inconsistent with the governing Rules, which are to be "construed and

              administered to secure the just, speedy, and inexpensive determination of

              every action and proceeding." Fed.R.Civ.P. 1.

                     Because this Court finds that as a matter of federal law the parties'

              waivers are ineffective to override the court's discretion to certify a class

              under Rule 23 or consolidate proceedings under Rule 42, it is unnecessary

              to address Plaintiffs' contention that such waivers are void due to

              unconscionability under State law.

        Martrano v. Quizno's Franchise Co., 2009 WL 1704469, at *20-21 (W.D. Pa. June 15,

        2009) (footnotes omitted).




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               For the above reasons, this Court finds that Marriott waived any benefit from its

        Choice of Law and Venue provision. In addition, this Court finds the adhesive provision 1 ,

        buried on the last page of the Terms cannot direct this Court to ignore the provisions of

        Rule 23 of the Federal Rules of Civil Procedure.

               This Court also finds that inasmuch as this Court will re-certify the classes with

        respect to Marriott in this case, the class certification with regard to Accenture will be

        reinstated again.

               Accordingly, this Court will reinstate the classes as certified by Judge Grimm in In

        re Marriottlnt'I, Inc., Customer Data Sec. Breach Litig., 341 F.R.D. 128 (D. Md. 2022).

               This Court notes that on November 27, 2023 [Doc. 1154] Marriott requested oral

        argument on the Choice of Law and Venue issues. At the time that the undersigned

        received the Motion, the undersigned was approximately two-thirds of the way through

        preparing this Order. Accordingly, Marriott's Unopposed Request for a Hearing to Address

        the Court's September 22, 2023, and November 7, 2023, Orders [Doc. 1154] is DENIED

        AS MOOT.

               It is so ORDERED.

               The Clerk is directed to transmit copies of this Order to all counsel of record herein.




               1
                 This Court notes that in Atlantic Marine Const. Co. v. U.S. District Court, 571
        U.S. 49, 66 (2013), the Court stated "A forum-selection clause, after all, may have figured
        centrally in the parties' negotiations and may have affected how they set monetary and
        other contractual terms; it may, in fact, have been a critical factor in their agreement to do
        business together in the first place." This was hardly the case herein.

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              DATED: November 29, 2023.




                                                 ~;C2.4
                                                 J O T o N BAILEY
                                                 UNITED STATES DISTRICT JUDGE




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                                           IN RE MARRIOTT INTERNATIONAL, INC.                                            677
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                a conclusion that it was ‘‘so obvious’’ that                                       v.
                Mitchell created a substantial risk of seri-              Accenture LLP, Defendant - Appellant.
                ous bodily injury when he struck Officer
                Jones.5 See Bolden, 964 F.3d at 288.                      The Chamber of Commerce of the Unit-
                                                                            ed States of America; The National
                   For these reasons, I would vacate the
                                                                            Retail Federation, Amici Supporting
                district court’s application of the official
                                                                            Appellants.
                victim enhancement and remand the case
                for resentencing to have the district court               The National Association of Consumer
                explain fully its application of both disput-               Advocates; Public Justice; Electronic
                ed enhancements.                                            Frontier Foundation; Electronic Pri-
                                                                            vacy Information Center, Amici Sup-
                                                                            porting Appellees.

                                                                              In re: Marriott International, Inc.,

                                  ,
                                                                                   Customer Data Security
                                                                                      Breach Litigation.

                                                                          Peter Maldini; Roger Cullen; Paula
                                                                            O’Brien; Robert Guzikowski; Deni-
                                                                            trice Marks; Maria Maisto; Irma Law-
                                                                            rence; Michaela Bittner; Kathleen
                 IN RE: MARRIOTT INTERNATION-                               Frakes Hevener; Annemarie Amarena;
                   AL, INC., Customer Data Securi-                          Brent Long; David Viggiano; Eric Fi-
                        ty Breach Litigation,                               shon, All Proceeding Individually and
                                                                            on Behalf of All Others Similarly Sit-
                                                                            uated, Plaintiffs - Appellees,
                Peter Maldini; Paula O’Brien; Robert
                  Guzikowski; Denitrice Marks; Maria                                               v.
                  Maisto; Irma Lawrence; Michaela                            Marriott International, Incorporated,
                  Bittner; Kathleen Frakes Hevener;                                Defendant - Appellant.
                  Brent Long; David Viggiano; Eric Fi-
                  shon; Annemarie Amarena; Roger                          The Chamber of Commerce of the Unit-
                  Cullen, all proceeding individually                       ed States of America; The National
                  and on behalf of all others similarly                     Retail Federation, Amici Supporting
                  situated, Plaintiffs - Appellees,                         Appellants.

                     court found [the defendant] raised his weapon              upward adjustment under [the official vic-
                     or repositioned it to hold it by the grip.’’).             tim enhancement]. Applying the Guideline
                                                                                standard to the specific circumstances of a
                5.     The majority also cites Alexander to support             case is the responsibility of the district
                     its statement that ‘‘[a]s little as one punch to           judge.
                     the head by an unarmed person may cause a                  712 F.3d at 979. Under the posture of this
                     substantial risk of serious bodily injury.’’ Op.,       case, in which the district court failed to
                     at 670. I do not disagree that, in some cir-            provide a sufficient explanation for its reason-
                     cumstances, that might be the case. But the             ing or to identify what particular circum-
                     majority fails to acknowledge the succeeding            stances created a ‘‘substantial risk of serious
                     sentences in Alexander:                                 bodily injury,’’ it is not ‘‘so obvious’’ that the
                                                                             two strikes would have supported the applica-
                         We are not holding or even suggesting               tion of the enhancement. Bolden, 964 F.3d at
                       that every swing of a fist qualifies for the          288.




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                National Association of Consumer Advo-           gation and the need to afford them some
                 cates; Public Justice; Electronic Fron-         latitude in bringing that expertise to bear.
                 tier Foundation; Electronic Privacy
                                                                 2. Federal Courts O3565
                 Information Center, Amici Supporting
                 Appellees.                                           District court per se abuses its discre-
                                                                 tion when it makes an error of law or
                         No. 22-1744, No. 22-1745                clearly errs in its factual findings.
                      United States Court of Appeals,
                                                                 3. Federal Civil Procedure O175
                              Fourth Circuit.
                                                                       Certifying classes was improper with-
                           Argued: May 3, 2023                   out first addressing defense that class
                         Decided: August 18, 2023                members, hotel guests, had waived right to
                Background: Consumers brought consoli-           bring class action against hotel chain to
                dated class action claims against hotel          recover for damages caused by hacker’s
                chain and data security company for negli-       breach of guest reservation database;
                gence, breach of contract, and consumer          class-waiver defense was not merits issue
                protection, arising from data breach in          as it was a defense to being required to
                which hackers had access to consumers’           litigate a class action at all, and even if
                personally identifiable information via          waiver raised a merits question, there was
                guest information database. Consumers            nothing unusual or counter-intuitive about
                moved to certify classes and subclasses for      requiring court to consider aspects of mer-
                monetary damages, liability issues, and in-      its in connection with class certification.
                junctive or declaratory relief. The United       Fed. R. Civ. P. 23.
                States District Court for the District of        4. Federal Civil Procedure O171
                Maryland, Paul W. Grimm, J., 341 F.R.D.
                                                                      Certification is key moment in class
                128, partially granted motion to certify
                                                                 action litigation; it is sharp line of demar-
                classes and subclasses. Defendants’ peti-
                                                                 cation between individual action seeking to
                tions for permission to appeal were grant-
                                                                 become class action and actual class action.
                ed.
                                                                 Fed. R. Civ. P. 23.
                Holdings: The Court of Appeals, Harris,
                Circuit Judge, held that:                        5. Federal Civil Procedure O182.5
                (1) certifying classes was improper without           Superiority requirement for class ac-
                    first addressing defense of waiver of        tion by hotel guests on issues whether data
                    right to bring class action against          security company owed duty to guests and
                    chain, and                                   breached it was not satisfied after Court of
                                                                 Appeals vacated certification order in suit
                (2) class action on issues whether company
                                                                 against hotel chain for damages caused by
                    owed duty to customers and breached
                                                                 hacker’s breach of guest reservation data-
                    it was no longer superior.
                                                                 base; district court reasoned that it would
                Vacated and remanded.
                                                                 already be analyzing intertwined factual
                                                                 circumstances relevant to duty and breach
                1. Federal Courts O3585(3)                       issues since it had certified damages class
                     Court of Appeals reviews a district         against chain, but without classes against
                court’s class certification decision for abuse   chain, nothing remained to support district
                of discretion, cognizant of both the consid-     court’s superiority finding as to issue
                erable advantages that district court col-       classes against company. Fed. R. Civ. P.
                leagues possess in managing complex liti-        23(b)(3), 23(c)(4).




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                6. Federal Civil Procedure O161.2                belt, Maryland; Gary F. Lynch, LYNCH
                    The superiority of class proceedings         CARPENTER, LLP, Pittsburgh, Pennsyl-
                simply cannot be taken for granted, even         vania; James Ulwick, KRAMON & GRA-
                when common questions predominate as to          HAM PA, Baltimore, Maryland; Daniel
                the certified issues; instead, courts must       Robinson, ROBINSON CALCAGNIE,
                evaluate superiority question of efficiency      INC., Newport Beach, California; Ariana
                carefully. Fed. R. Civ. P. 23(b)(3).             J. Tadler, TADLER LAW LLP, New
                                                                 York, New York, for Appellees. Jennifer
                  Appeal from the United States District         B. Dickey, Jordan L. Von Bokern, UNIT-
                Court for the District of Maryland, at           ED STATES CHAMBER LITIGATION
                Greenbelt. Paul W. Grimm, Senior District        CENTER, Washington, D.C., for Amicus
                Judge. (8:19-md-02879-PWG)                       Chamber of Commerce of the United
                  ARGUED: Matthew S. Hellman, JEN-               States of America. Stephanie A. Martz,
                NER & BLOCK LLP, Washington, D.C.;               NATIONAL RETAIL FEDERATION,
                Devin S. Anderson, KIRKLAND & EL-                Washington, D.C., for Amicus National
                LIS, LLP, Washington, D.C., for Appel-           Retail Federation. Ashley C. Parrish, Ju-
                lants. Amy Elisabeth Keller, DICELLO             lianne L. Duran, KING & SPALDING
                LEVITT GUTZLER LLC, Chicago, Illi-               LLP, Washington, D.C., for Amici Cham-
                nois, for Appellees. ON BRIEF: Craig S.          ber of Commerce of the United State of
                Primis, Emily M. Long, Katherine E.              America and National Retail Federation.
                Canning, KIRKLAND & ELLIS LLP,                   Ira Rheingold, NATIONAL ASSOCIA-
                Washington, D.C., for Appellant Accen-           TION OF CONSUMER ADVOCATES,
                ture LLP. Daniel R. Warren, Lisa M.              Washington, D.C., for Amicus National
                Ghannoum, Dante A. Marinucci, Kyle T.            Association of Consumer Advocates. Shel-
                Cutts, Cleveland, Ohio, Gilbert S. Ketel-        by Leighton, PUBLIC JUSTICE, Wash-
                tas, BAKER & HOSTETLER LLP,                      ington, D.C., for Amicus Public Justice.
                Washington, D.C.; Lindsay C. Harrison,           Hassan A. Zavareei, Glenn E. Chappell,
                Zachary C. Schauf, Kevin J. Kennedy,
                                                                 Spencer S. Hughes, Cameron Partovi,
                Mary E. Marshall, Raymond B. Simmons,
                                                                 Schuyler Standley, TYCKO & ZAVAR-
                JENNER & BLOCK LLP, Washington,
                                                                 EEI LLP, Washington, D.C., for Amici
                D.C., for Appellant Marriott International,
                                                                 National Association of Consumer Advo-
                Inc. James J. Pizzirusso, Washington,
                                                                 cates and Public Justice. Cindy A. Cohn,
                D.C., Megan Jones, HAUSFELD LLP,
                                                                 Adam Schwartz, ELECTRONIC FRON-
                San Francisco, California; Andrew N.
                                                                 TIER FOUNDATION, San Francisco,
                Friedman, COHEN MILSTEIN SELL-
                ERS & TOLL PLLC, Washington, D.C.;               California, for Amicus Electronic Frontier
                Norman E. Siegel, Kasey Youngentob,              Foundation. Chris Frascella, Megan Iorio,
                STUEVE SIEGEL HANSON LLP, Kan-                   Tom McBrien, ELECTRONIC PRIVACY
                sas City, Missouri; Jason L. Lichtman,           INFORMATION          CENTER       (EPIC),
                Sean A. Petterson, LIEFF CABRASER                Washington, D.C., for Amicus Electronic
                HEIMANN & BERNSTEIN, LLP, New                    Privacy Information Center. Jean Sutton
                York, New York; MaryBeth V. Gibson,              Martin, John A. Yanchunis, Kenya J. Red-
                THE FINLEY FIRM, P.C., Atlanta,                  dy, MORGAN & MORGAN COMPLEX
                Georgia; Megan Jones, HAUSFELD                   LITIGATION GROUP, Tampa, Florida,
                LLP, San Francisco, California; Timothy          for Amici Electronic Frontier Foundation
                Maloney, Veronica Nannis, JOSEPH                 and Electronic Privacy Information Cen-
                GREENWALD & LAAKE, P.A., Green-                  ter.




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                 Before NIEMEYER, KING, and                                                 I.
                HARRIS, Circuit Judges.
                                                                                           A.
                   Vacated and remanded by published                     In November 2018, Marriott Interna-
                opinion. Judge Harris wrote the opinion, in           tional, Inc., disclosed that it had been sub-
                which Judge Niemeyer and Judge King                   ject to a massive data breach: From July
                joined.                                               2014 to September 2018, hackers had ac-
                     PAMELA HARRIS, Circuit Judge:                    cess to the guest reservation database of a
                                                                      hotel chain, Starwood Hotels & Resorts
                   In November 2018, Marriott Interna-
                                                                      Worldwide, that Marriott had purchased
                tional, Inc., announced that hackers had
                                                                      mid-breach in September 2016. Through
                breached one of its guest reservation data-
                                                                      the Starwood database, the hackers were
                bases, giving them access to millions of
                                                                      able to view customers’ personal informa-
                guest records. Customers across the coun-
                                                                      tion, including names, mailing addresses,
                try began filing lawsuits, which were con-
                                                                      birth dates, email addresses, phone num-
                solidated into multidistrict litigation in Ma-        bers, and, in some cases, passport and
                ryland. The plaintiffs then moved to certify          payment card information. The compro-
                multiple class actions against Marriott and           mised information was associated with
                Accenture LLP, an IT service provider                 both regular guests and those who were
                that managed the database at issue.                   members of the Starwood Preferred Guest
                   The district court obliged in part. After          Program. In total, the breach affected
                extensive proceedings, it certified classes           roughly 133.7 million guest records within
                for monetary damages on breach of con-                the United States.
                tract and statutory consumer-protection                  Consumer plaintiffs across the country
                claims against Marriott under Rule                    began filing lawsuits against Marriott. The
                23(b)(3) of the Federal Rules of Civil Pro-           suits claimed, in collective effect, that Mar-
                cedure. It also certified ‘‘issue’’ classes on        riott failed to take reasonable steps to
                negligence claims against Marriott and Ac-            protect its customers’ personal information
                centure under Rule 23(c)(4), limited to a             against the foreseeable risk of a cyberat-
                subset of issues bearing on liability.                tack, giving rise to tort liability. They also
                   We granted the defendants’ petitions to            alleged that Marriott had breached con-
                appeal the district court’s certification or-         tractual and statutory duties the company
                der and now conclude that the order must              owed to its customers. Those actions were
                be vacated. The district court erred, we              ultimately consolidated in multi-district lit-
                find, in certifying damages classes against           igation in the District of Maryland, where
                Marriott without first considering the ef-            Marriott is headquartered. The plaintiffs
                fect of a class-action waiver signed by all           added as a defendant Accenture LLP, a
                putative class members. And because the               third-party provider of IT services to Star-
                existence of damages classes against Mar-             wood and then Marriott during the rele-
                riott was a critical predicate for the dis-           vant period.
                trict court’s decision to certify the negli-             In their operative complaint, the plain-
                gence issue classes, that error affects the           tiffs asserted various state-law contract
                whole of the certification order. According-          and statutory consumer-protection claims
                ly, we vacate the district court’s certifica-         against Marriott, along with state-law tort
                tion order and remand for further pro-                claims for negligence against both Mar-
                ceedings consistent with this opinion.                riott and Accenture.1 Marriott and the

                1.    The plaintiffs brought claims for both negli-     gence and negligence per se. For the sake of




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                plaintiffs then identified ten ‘‘bellwether’’       they would have had they known of Mar-
                claims to test the sufficiency of the plead-        riott’s allegedly lax data-security practices
                ings; each was keyed to the law of a partic-        (the ‘‘overpayment’’ theory). Id. at 460–66.
                ular state, with the named plaintiffs from
                the selected state serving as the bellweth-                                B.
                er plaintiffs. The plaintiffs and Accenture
                                                                       The plaintiffs moved to certify various
                followed a similar process to identify test
                jurisdictions and named plaintiffs for the          classes, and in the decision now before us,
                state-law negligence claims against that            the district court granted that motion in
                defendant. Marriott and Accenture then              part. See In re Marriott Int’l, Inc., Cus-
                moved to dismiss the representative plain-          tomer Data Sec. Breach Litig. (Marriott
                tiffs’ claims.                                      III), 341 F.R.D. 128 (D. Md. 2022). On the
                                                                    plaintiffs’ contract and consumer-protec-
                   The district court denied the defendants’
                                                                    tion claims against Marriott, the court cer-
                motions in relevant part, allowing the
                plaintiffs’ claims to proceed. See In re            tified three state-specific damages classes
                Marriott Int’l, Inc., Customer Data Sec.            under Rule 23(b)(3) of the Federal Rules
                Breach Litig. (Marriott I), 440 F. Supp. 3d         of Civil Procedure. Id. at 172–73. And on
                447 (D. Md. 2020); In re Marriott Int’l,            the plaintiffs’ negligence claims against
                Inc., Customer Data Sec. Breach Litig.              Marriott and Accenture, the court certified
                (Marriott II), No. 19-md-2879, 2020 WL              four state-specific ‘‘issue’’ classes under
                6290670 (D. Md. Oct. 27, 2020). Most im-            Rule 23(c)(4), limited to the elements of
                portant here, the district court held that          duty and breach, with individualized pro-
                the named plaintiffs had adequately al-             ceedings on injury, causation, and the
                leged ‘‘injury in fact’’ for purposes of Arti-      amount of damages to follow. Id. at 173.
                cle III standing, and in so doing, it identi-       Our ruling today turns primarily on the
                fied the theories of harm that would go on          import of a class-action waiver signed by
                to guide the class certification litigation.        members of the damages classes against
                Marriott I, 440 F. Supp. 3d at 456–66;              Marriott. But that issue is intertwined
                Marriott II, 2020 WL 620670, at *4–5 (in-           with others in this complex proceeding,
                corporating reasoning of Marriott I). Ev-           and the defendants’ objections are wide-
                eryone agreed that plaintiffs who had ex-           ranging, so we lay out much of the district
                perienced actual ‘‘fraudulent misuse of             court’s comprehensive opinion below.
                their personal information’’ had suffered a
                cognizable injury. Marriott I, 440 F. Supp.                                1.
                3d at 456 n.4, 460 n.6. But the district
                court also found, as relevant here, that the           The district court began by returning to
                remaining plaintiffs had advanced three             the question of the class representatives’
                other forms of injury sufficient to establish       standing. Id. at 140–43. The court relied
                standing: (1) that they had spent time and          mostly on its prior analysis from the mo-
                money mitigating a non-speculative threat           tion to dismiss stage, reasoning that the
                of identity theft (the ‘‘mitigation’’ theory);      same evidentiary burden applied through
                (2) that the cyberattack had deprived them          class certification and until summary judg-
                of the inherent market value of their per-          ment, at which point the defendants could
                sonal identifying information (the ‘‘loss of        raise further standing challenges. Id. at
                market value’’ theory); and (3) that they           141. The district court did, however, make
                had paid more for their hotel rooms than            one adjustment to the scope of the dam-

                  convenience, we refer to them together here          as negligence claims.




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                ages classes against Marriott in response                                    2.
                to standing concerns. Those classes, the                  The court turned then to the issue impli-
                court explained, relied in critical part on            cating the class-action waivers at the heart
                an alleged ‘‘overpayment’’ injury: The class           of this appeal: Rule 23(a)’s ‘‘typicality’’ re-
                members paid more for their hotel rooms                quirement, under which a class representa-
                than they were worth, given Marriott’s                 tive’s claims and defenses must be typical
                data-security deficiencies. But as defined             of those of the class. See Fed. R. Civ. P.
                by the plaintiffs, Marriott argued, the                23(a)(3); Marriott III, 341 F.R.D. at 149.
                classes also included customers, like those            The problem here, as Marriott saw it, was
                traveling for work, who were reimbursed                that the class representatives, all members
                for their stays and thus did not themselves            of the Starwood Preferred Guest Program
                incur the hypothesized economic injury. Id.            (‘‘SPG’’), had a contractual relationship
                                                                       with Marriott that differed critically from
                at 142. The district court agreed, and thus
                                                                       that of other class members. As SPG mem-
                limited the classes proceeding on the over-
                                                                       bers, every class representative had signed
                payment theory of injury – the contract
                                                                       a ‘‘Terms & Conditions’’ contract with a
                and consumer-protection classes against
                                                                       provision purporting to waive his or her
                Marriott – to ‘‘persons who bore the eco-
                                                                       right to pursue class litigation. See J.A.
                nomic burden for hotel room[s]’’ and were              727 (‘‘Any disputes arising out of or relat-
                not reimbursed for their stays. Id. at 142–            ed to the SPG Program or the[ ] SPG
                43.                                                    Program Terms will be handled individual-
                   That raised a second concern for Mar-               ly without any class action TTTT’’). But as
                                                                       the plaintiffs had defined them, the con-
                riott: that the classes, so defined, were
                                                                       sumer-protection and negligence classes
                insufficiently ‘‘ascertainable’’ because there
                                                                       against Marriott included non-SPG mem-
                was no administratively feasible way of
                                                                       bers, who had not signed such waivers.2
                determining who was and was not a class
                                                                       And that, the district court concluded, did
                member. See EQT Prod. Co. v. Adair, 764
                                                                       indeed ‘‘raise[ ] serious typicality con-
                F.3d 347, 358 (4th Cir. 2014) (discussing              cerns,’’ because Marriott had indicated
                Rule 23’s ‘‘implicit threshold requirement’’           that it would rely on the waiver to argue
                that members of a proposed class be                    that SPG members – like the class repre-
                ‘‘readily identifiable’’ (internal quotation           sentatives, but unlike many class mem-
                marks omitted)). Here, the district court              bers – could not pursue class litigation at
                disagreed, finding no reason to think – at             all. Marriott III, 341 F.R.D. at 149.
                least at present – that identifying class                 To address that concern, the district
                members who had paid their own way                     court redefined all classes against Marriott
                would call for any ‘‘exceptionally compli-             to include only SPG members, bringing the
                cated administrative review.’’ Marriott III,           class representatives into alignment with
                341 F.R.D. at 144. But the court cautioned             class membership. Id. The result, of
                that it would continue to monitor this pro-            course, was that now every proposed class
                cess, redefining the classes or even decer-            member litigating against Marriott would
                tifying them altogether if identifying mem-            be someone who had purportedly given up
                bers proved too unwieldy. Id. at 146.                  the right to engage in just such class liti-

                2.     The plaintiffs’ proposed contract classes, by     bers. Marriott III, 341 F.R.D. at 149 & n.24.
                     contrast, already included only SPG mem-




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                gation. But the district court did not fur-               Id. at 161–62 & n.48 (citing In re Marriott
                ther consider the import of the class waiv-               Int’l, Inc., Customer Data Sec. Breach Li-
                er on its certification decision. Instead, in a           tig. (Marriott IV), 602 F. Supp. 3d 767 (D.
                footnote, it first observed that the plain-               Md. 2022)).
                tiffs had raised a ‘‘strong argument’’ that
                                                                             The plaintiffs’ expert, the court conclud-
                Marriott had waived its right to enforce
                                                                          ed, had developed an admittedly ‘‘complex’’
                the class-action waiver; though it was in-
                                                                          model that nevertheless allowed each class
                cluded as a ‘‘one-line, boilerplate affirma-
                                                                          member to use the same statistical formula
                tive defense’’ in Marriott’s answer, Mar-
                riott had not otherwise pressed the issue                 to calculate his or her overpayment dam-
                as ‘‘part of the bellwether negotiation pro-              ages, relying on the same set of variables
                cess’’ or in any separate motion. Id. at 149              for each hotel stay. Id. at 161–62. Though
                n.26. And in any event, the court conclud-                some individual data would be required as
                ed, it could address the class-action waiver,             an input, that information would be ‘‘objec-
                along with other affirmative defenses, af-                tive and administrative in nature,’’ raising
                ter discovery and at the merits stage of                  no ‘‘individualized issues of a substantive
                the litigation. Id.                                       nature.’’ Id. at 162. And the expert model
                                                                          satisfied the Comcast requirement that it
                                           3.                             measure only those damages attributable
                   After addressing other threshold Rule                  to the identified theory of harm, isolating
                23(a) requirements not at issue on appeal,                the overpayment theory of harm and at-
                the court proceeded to certify several                    tendant damages from the plaintiffs’ other
                state-specific Rule 23(b)(3) damages                      theories of injury. Id. at 163 (applying the
                classes against Marriott on the plaintiffs’               ‘‘Comcast requirement that a plaintiff’s
                contract and consumer-protection claims.                  damages case be consistent with its liabili-
                Here, the focus was on Rule 23(b)(3)’s                    ty case’’ (cleaned up)). But here again, the
                predominance requirement, see Fed. R.                     court cautioned that its decision was not
                Civ. P. 23(b)(3), which in this context                   final: As of yet, the plaintiffs’ model had
                meant that damages must be ‘‘capable of                   been tested only against the bellwether
                measurement on a classwide basis.’’ Mar-                  plaintiffs. Id. at 163. If it turned out that
                riott III, 341 F.R.D. at 161 (quoting Com-
                                                                          individual inquiries threatened to over-
                cast Corp. v. Behrend, 569 U.S. 27, 34, 133
                                                                          whelm the analysis when applied more
                S.Ct. 1426, 185 L.Ed.2d 515 (2013)).
                                                                          broadly, the court would adjust or decerti-
                Though damages need not be calculated
                                                                          fy the classes. Id.
                on a classwide basis, that is, the plaintiffs
                had to demonstrate that there was a ‘‘com-
                                                                                                 4.
                mon, classwide method for determining in-
                dividual damages.’’ Id. (internal quotation                  That left the proposed negligence
                marks omitted). And as the court ex-                      classes against both Marriott and Accen-
                plained, it had approved just such a com-                 ture. The court first denied the plaintiffs’
                mon method for calculating the plaintiffs’                motion for certification of full damages
                alleged overpayment injuries in a compan-                 classes under Rule 23(b)(3), concluding
                ion Daubert opinion 3 issued the same day.                that there was no common, classwide basis

                3.     In Daubert v. Merrell Dow Pharmaceuticals,            Fed. R. Evid. 702; Kumho Tire Co. v. Carmi-
                     Inc., 509 U.S. 579, 113 S.Ct. 2786, 125                 chael, 526 U.S. 137, 119 S.Ct. 1167, 143
                     L.Ed.2d 469 (1993), and its progeny, the Su-            L.Ed.2d 238 (1999); Gen. Elec. Co. v. Joiner,
                     preme Court set forth the standard for admit-           522 U.S. 136, 118 S.Ct. 512, 139 L.Ed.2d 508
                     ting expert testimony in federal trials. See also       (1997).




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                for calculating damages caused by the de-      seriously dispute) that common issues pre-
                fendants’ alleged negligence. Id. at 153.      dominated as to the other elements of the
                Here, the plaintiffs rested on the ‘‘loss of   plaintiffs’ negligence claims – the existence
                market value’’ theory of injury, arguing       of a duty owed by the defendants to the
                that all class members lost the value of       plaintiffs and a breach of that duty. Id.
                their personal information when it was ex-     Accordingly, the court certified issue
                posed to hackers and presenting an expert      classes on the duty and breach elements of
                model for measuring that market value          the plaintiffs’ negligence claims alone, to
                across all class members. But in its accom-    be followed (if the plaintiffs succeeded) by
                panying Daubert order, the district court      individualized proceedings on the injury
                rejected that model, leaving the plaintiffs
                                                               and causation elements as well as dam-
                with no classwide theory of injury or meas-
                                                               ages.
                ure of damages. Id. at 153–54 & n.32. The
                court recognized, however, that the plain-        The court recognized that certification of
                tiffs were pursuing a different methodolo-     issue classes under Rule 23(c)(4) calls for
                gy for measuring market value, anchored        special attention to Rule 23(b)(3)’s superi-
                to Marriott’s own valuation of its reward      ority requirement, under which a class ac-
                customers’ personal data, and denied the       tion must be ‘‘superior to other available
                plaintiffs’ motion without prejudice, allow-   methods for fairly and efficiently adjudi-
                ing for further proceedings on that matter.    cating the controversy.’’ Fed. R. Civ. P.
                Id. at 154.                                    23(b)(3). The efficiency gains of certifica-
                   The court did, however, certify ‘‘issue’’   tion, that is, must be evaluated in light of
                negligence classes against Marriott and        the need for individualized proceedings at
                Accenture under Rule 23(c)(4). Id. at 167–     the back end. See Marriott III, 341 F.R.D.
                71; see Fed. R. Civ. P. 23(c)(4) (‘‘When       at 170. And here, the court acknowledged,
                appropriate, an action may be brought or       the issue-class litigation it had authorized
                maintained as a class action with respect      would leave important elements and issues
                to particular issues.’’). These classes pro-   unresolved, requiring extensive subse-
                ceeded under theories of injury – actual       quent litigation. Nevertheless, the court
                fraud losses and the mitigation costs of       concluded, ‘‘efficiency gains stemming
                guarding against such losses – that were       from certification of the duty and breach
                concededly individualized. See id. at 168;     issues outweigh this fact,’’ given that the
                see also id. at 169 n.62 (observing that the   court already had certified damages
                plaintiffs did not dispute that individual-    classes against Marriott. Id. Because it
                ized issues predominated as to whether         would ‘‘already be analyzing the inter-
                they had suffered actual injury, ‘‘a fourth    twined factual circumstances relevant to
                consistent element TTT required to estab-      the duty and breach issues’’ in connection
                lish liability’’). Moreover, the court con-
                                                               with the Marriott contract and consumer-
                cluded, individualized issues predominated
                                                               protection classes, the court reasoned,
                on the question of causation, requiring
                                                               ‘‘[n]ot certifying the duty and breach issue
                ‘‘substantial individualized inquiry’’ as to
                                                               classes’’ would ‘‘result in totally unneces-
                whether class members’ data may have
                                                               sary duplication.’’ Id.
                been exposed through something other
                than the Starwood breach or whether it
                                                                                     5.
                was indeed the defendants’ alleged negli-
                gence that proximately caused their inju-         After the district court entered its certi-
                ries. Id. at 169. By contrast, the court       fication order, Marriott and Accenture
                found, it was clear (and Marriott did not      timely petitioned this court for permission




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                to appeal under Rule 23(f) of the Federal                consider, before certifying class actions
                Rules of Civil Procedure. We granted the                 against Marriott, the import of a purport-
                petitions and this appeal followed.                      ed class-action waiver signed by every pu-
                                                                         tative class member. And that error, in
                                          II.                            turn, affected the certification of the negli-
                   [1, 2] We review a district court’s class             gence issue classes against Accenture, be-
                certification decision for abuse of discre-              cause the certification of the Marriott dam-
                tion, Gregory v. Finova Cap. Corp., 442                  ages classes was the linchpin of the district
                F.3d 188, 190 (4th Cir. 2006), ‘‘cognizant of            court’s Rule 23(b)(3) superiority analysis.
                both the considerable advantages that our                Accordingly, we vacate the certification or-
                district court colleagues possess in manag-              der in its entirety and remand for proceed-
                ing complex litigation and the need to af-               ings consistent with this opinion.
                ford them some latitude in bringing that
                expertise to bear,’’ Krakauer v. Dish Net-                                       A.
                work, L.L.C., 925 F.3d 643, 654 (4th Cir.
                                                                            We begin with Marriott’s class-action
                2019). Nevertheless, ‘‘[a] district court per
                                                                         waiver defense. Marriott maintains that
                se abuses its discretion when it makes an
                                                                         every SPG member agreed to resolve dis-
                error of law or clearly errs in its factual
                                                                         putes against it only ‘‘individually [and]
                findings.’’ Thorn v. Jefferson-Pilot Life
                                                                         without any class action’’ when they signed
                Ins. Co., 445 F.3d 311, 317 (4th Cir. 2006).
                                                                         the SPG Terms & Conditions contract. See
                   In their petitions and on appeal, the                 J.A. 727. And because of the district
                defendants challenge multiple aspects of                 court’s Rule 23(a) typicality ruling, the cer-
                the district court’s certification ruling, ob-           tified classes against Marriott now consist
                jecting, inter alia, to its finding that mem-            entirely of SPG members. See Marriott
                bership in the damages classes against
                                                                         III, 341 F.R.D. at 149. Those putative class
                Marriott was sufficiently ‘‘ascertainable’’;
                                                                         members are bound, Marriott contends, by
                to its approval of the plaintiffs’ model for
                                                                         a contractual waiver that applies to all the
                classwide calculation of overpayment dam-
                                                                         certified claims, barring the entirety of the
                ages; and, on several different grounds, to
                                                                         class action against it.
                its certification of negligence ‘‘issue’’
                classes limited to the elements of duty and                [3] The threshold question on appeal is
                breach. But we need not resolve all these                whether the district court erred by certify-
                issues – some of which, as noted above,                  ing classes against Marriott without first
                involve district court rulings expressly left            addressing this class-action waiver de-
                open to further consideration – in this                  fense. See Marriott III, 341 F.R.D. at 149
                interlocutory posture.4                                  n.26 (explaining that the court will address
                  That is because we agree with Marriott                 the class-waiver defense, along with other
                on one threshold and critical point: The                 affirmative defenses, after certification and
                district court erred when it declined to                 at the merits stage of the litigation). Mar-

                4.     The certification order in this complex case         ment and loss of market value theories. The
                     incorporates a number of critical and contest-         order also incorporates two Daubert rulings –
                     ed rulings, some but not all of which are              one in favor of the plaintiffs, one in favor of
                     before us in this Rule 23(f) posture. As out-          the defendants – regarding the susceptibility
                     lined above, much of the district court’s certi-       of those theories to classwide proof. We do
                     fication order is premised on its early adop-          not reach those issues today, and our narrow
                     tion, at the motion to dismiss stage, of the           decision should not be understood to express
                     plaintiffs’ various theories of injury and Arti-       any view on aspects of the certification order
                     cle III standing, which included the overpay-          beyond those directly addressed.




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                riott argues vigorously that class waivers               for certification was barred by class waiver
                must be addressed and (if appropriate)                   there was no need to address whether the
                enforced at the certification stage, not af-             plaintiffs’ claims satisfied the requirements
                ter a class action already has been litigat-             for certification set forth in Rule 23(a) and
                ed through to the merits. And, notably, the              23(b)(3)); Ranzy v. Extra Cash of Tex.,
                plaintiffs seem not to disagree – at least,              Inc., No. Civ. A. H-09-3334, 2011 WL
                not by much. Apart from a half-sentence                  13257274, at *8 (S.D. Tex. Oct. 14, 2011)
                referring to a district court’s general dis-             (concluding that class-action waivers pre-
                cretion to manage its docket, the plaintiffs’            cluded plaintiff from asserting claims on
                brief does not join issue on this timing                 behalf of a class, obviating need to reach
                question at all; instead, it jumps straight to           the Rule 23 requirements); Lindsay v.
                the merits of Marriott’s defense, arguing                Carnival Corp., No. C20-982, 2021 WL
                that Marriott repudiated or otherwise                    2682566, at *4 (W.D. Wash. June 30, 2021)
                waived the defense and that the class waiv-              (denying the plaintiffs’ motion for class
                er is in any event unenforceable and large-              certification as barred by class waiver
                ly inapplicable. If there is an argument in              without addressing the requirements of
                favor of deferring consideration of a class              Rule 23); cf. Palacios v. Boehringer Ingel-
                waiver until after certification, the plain-
                                                                         heim Pharms., Inc., No. 10-22398-CIV,
                tiffs have not made it, and it may well be
                                                                         2011 WL 6794438, at *2–4 (S.D. Fla. Apr.
                forfeited. See Grayson O Co. v. Agadir
                                                                         19, 2011) (finding that class-action waiver
                Int’l LLC, 856 F.3d 307, 316 (4th Cir. 2017)
                                                                         prevented plaintiff from participating in
                (‘‘A party waives an argument TTT by fail-
                                                                         any class action, including collective ac-
                ing to develop it – even if its brief takes a
                                                                         tions brought pursuant to 29 U.S.C.
                passing shot at the issue.’’ (cleaned up)).
                                                                         § 216(b)).5
                   Regardless, we agree with Marriott that
                the time to address a contractual class                     [4] We think this is the only approach
                waiver is before, not after, a class is certi-           consistent with the nature of class actions
                fied. Although it seems no court has had                 and the logic of class waivers. Under Rule
                occasion to expressly hold as much, that is              23, certification is the key moment in class-
                the consensus practice. Courts consistently              action litigation: It is the ‘‘sharp line of
                resolve the import of class waivers at the               demarcation’’ between ‘‘an individual ac-
                certification stage – before they certify a              tion seeking to become a class action and
                class, and usually as the first order of                 an actual class action.’’ Shelton v. Pargo,
                business. See, e.g., Kaspers v. Comcast                  Inc., 582 F.2d 1298, 1304 (4th Cir. 1978).
                Corp., 631 F. App’x 779, 784 (11th Cir.                  But by signing a valid and enforceable
                2015) (per curiam) (‘‘[B]ecause we have                  class waiver, as alleged here, a plaintiff
                concluded that the class-action waiver was               promises not to cross that line – to give up,
                valid, the district court did not need to                in exchange for some contractual benefit,
                consider the requirements for class certifi-             the right to proceed by way of an ‘‘actual
                cation under Rule 23.’’); Archer v. Carnival             class action.’’ See Laver v. Credit Suisse
                Corp. & PLC, No. 2:20-CV-04203, 2020 WL                  Sec. (USA), LLC, 976 F.3d 841, 846 (9th
                6260003, at *4, *8 (C.D. Cal. Oct. 20, 2020)             Cir. 2020) (‘‘A class action waiver is a
                (finding that because the plaintiffs’ motion             promise to forgo a procedural right to

                5.     The only contrary authority located by the          grounds on appeal. See Earl v. Boeing Co.,
                     parties is a district court decision declining to     339 F.R.D. 391 (E.D. Tex. 2021), rev’d on
                     resolve a class waiver issue at certification         other grounds, 53 F.4th 897 (5th Cir. 2022).
                     that was subsequently reversed on other




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                pursue class claims.’’). If that ‘‘sharp line’’     and legal issues comprising the plaintiff’s
                is to be maintained, then a district court          cause of action.’’ (cleaned up)).
                simply cannot certify a class at the behest            The district court provided no other rea-
                of plaintiffs who have promised to stay on          son for declining to rule on Marriott’s
                the ‘‘individual action’’ side of it.               waiver defense before certifying a class
                   Although the district court addressed            against it, and none is apparent to us. We
                this issue only parenthetically, it did sug-        thus conclude, for the reasons given above,
                gest that it would be appropriate to group          that the district court erred by certifying
                Marriott’s class-waiver defense with its            multiple classes against Marriott consist-
                other affirmative defenses, all to be re-           ing entirely of plaintiffs who had signed a
                solved at the ‘‘merits stage’’ of the class         putative class waiver without first address-
                action litigation it was certifying. Marriott       ing the import of that waiver. Accordingly,
                III, 341 F.R.D. at 149 n.26. We disagree.           we vacate the certification of all classes
                First, a class-waiver defense is not a ‘‘mer-       against Marriott and remand to the dis-
                its’’ issue in the usual sense. Whether a           trict court so that it may undertake this
                plaintiff may proceed via a class action            inquiry in the first instance.
                does not speak to the underlying merits of             In so doing, we decline the plaintiffs’
                his claim; it speaks to the process available       invitation to resolve on appeal an issue
                in pursuit of that claim. Put differently, a        never ruled on by the district court:
                class-waiver defense is not a defense to            whether, as the plaintiffs argue, Marriott
                liability but to being required to litigate a       repudiated or waived its class-waiver de-
                class action at all. If that defense is ad-         fense. It is true, as the plaintiffs empha-
                dressed only after a class action already           size, that the district court characterized
                has been litigated to the merits, then it is        their ‘‘waiver of the waiver’’ argument as a
                effectively lost, cf. Mitchell v. Forsyth, 472      ‘‘strong’’ one. Marriott III, 341 F.R.D. at
                U.S. 511, 526, 105 S.Ct. 2806, 86 L.Ed.2d           149 n.26. But contrary to the plaintiffs’
                411 (1985) (discussing qualified immunity           suggestions, the district court did not pur-
                as ‘‘immunity from suit’’), and the defen-          port to resolve the issue, instead limiting
                dant is denied the benefit of its contractual       itself to an aside. See id. (‘‘Nevertheless,
                bargain.                                            the Court need not rule on this issue at
                   And in any event, even if a class-waiver         this time.’’). Moreover, we have some ques-
                defense is treated as a merits question,            tions about the court’s commentary. As
                that does not mean it should not be re-             Marriott argues, it raised its class-waiver
                solved at the certification stage. The Su-          defense in its answer to the plaintiffs’ com-
                preme Court has emphasized the ‘‘rigorous           plaint and then again at class certification,
                analysis’’ that must be performed before a          and at least as a general rule, it is not
                class is certified under Rule 23 – even             obvious that more would be required. But
                where that analysis will ‘‘entail some over-        to the extent the court was concerned with
                lap with the merits.’’ Wal-Mart Stores,             the particulars of Marriott’s litigation
                Inc. v. Dukes, 564 U.S. 338, 351, 131 S.Ct.         strategy, see id. (discussing ‘‘bellwether
                2541, 180 L.Ed.2d 374 (2011). There is              negotiation process’’ and motions practice),
                nothing unusual or counter-intuitive, in            that is a matter squarely within the pur-
                other words, about requiring courts to con-         view of the district court, which has by far
                sider aspects of the merits in connection           the better vantage point. Cf. Stuart v.
                with class certification. See id. (‘‘The class      Huff, 706 F.3d 345, 349–50 (4th Cir. 2013)
                determination generally involves consider-          (explaining that litigation ‘‘dynamics’’ are
                ations that are enmeshed in the factual             best evaluated by district courts based on




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                their ‘‘on the scene’’ presence (internal            causation, or whether a breach of duty
                quotation marks omitted)). Accordingly, we           established classwide caused injury to a
                leave it to the district court on remand to          given plaintiff – would be litigated in fol-
                consider all ‘‘arguments related to waiver           low-on individual proceedings, along with
                of the waiver provision,’’ Marriott III, 341         damages. Marriott III, 341 F.R.D. at 167–
                F.R.D. at 149 n.26, in connection with a             71. Accenture objects to these issue classes
                new certification determination.                     on multiple grounds, arguing, inter alia,
                   Similarly, we will not take up for the            that Rule 23(c)(4) does not permit the cer-
                first time on appeal questions related to            tification of some but not all elements of a
                the validity and scope of the Terms &                cause of action, and that even if it does,
                Conditions class waiver. The plaintiffs              these classes do not satisfy Rule 23(b)(3)’s
                raise objections to enforcement of that              superiority requirement. As explained be-
                waiver under both state and federal law,             low, we agree that the district court’s su-
                and contend in the alternative that the              periority analysis cannot stand, and on
                waiver’s scope does not reach their con-             that ground, we vacate the certification of
                sumer-protection and negligence claims.              the classes against Accenture.
                Marriott, of course, argues to the contrary.            Rule 23(c)(4) provides that ‘‘[w]hen ap-
                But the district court declined to pass on           propriate, an action may be brought or
                these questions, too. See id. (deferring rul-        maintained as a class action with respect
                ing on ‘‘the arguments both parties have             to particular issues.’’ Fed. R. Civ. P.
                made as to the applicability’’ of the con-           23(c)(4). In Gunnells v. Healthplan Ser-
                tractual waiver provision until after discov-        vices, Inc., 348 F.3d 417 (4th Cir. 2003), we
                ery and a ruling on the merits). That                held that this rule allows for certification
                leaves us without any development of                 of a class as to a particular cause of action,
                those issues, and so we follow our ordinary          even where a lawsuit as a whole would not
                course and leave to the district court ‘‘the         satisfy Rule 23(b)’s predominance require-
                first opportunity to perform the applicable          ment. See 348 F.3d at 439–45. But see id.
                analysis.’’ Fusaro v. Cogan, 930 F.3d 241,           at 446–48 (Niemeyer, J., concurring in part
                263 (4th Cir. 2019); id. at 264 (‘‘[T]his            and dissenting in part). The question here
                Court is a court of review, not of first view        is related but distinct: whether a court
                TTTT’’ (internal quotation marks omitted)).          may certify certain elements of a cause of
                                                                     action as to which common issues predomi-
                                         B.                          nate (in this case, duty and breach) when
                   [5] Having vacated the district court’s           individual issues predominate as to other
                certification order as to the classes against        elements (here, injury and causation). It
                Marriott, we turn now to the negligence              may be, as the district court concluded,
                issue classes against Accenture.6 As de-             that the case law is ‘‘coalesc[ing]’’ around a
                scribed above, the district court certified          ‘‘broad view of Rule 23(c)(4) in which com-
                Rule 23(c)(4) issue classes on two and only          mon questions need predominate over indi-
                two elements of the plaintiffs’ negligence           vidual ones only for the specific issues that
                claims against Accenture – whether Accen-            are certified, not for the entire cause of
                ture owed a duty of care to the plaintiffs           action.’’ Marriott III, 341 F.R.D. at 168
                and whether it had breached any such                 (internal quotation marks omitted); see
                duty. The remaining elements – injury and            also Naparala v. Pella Corp., No. 2:14-cv-

                6.     Those classes remain before us because Ac-      the putative class members’ SPG Terms &
                     centure, unlike Marriott, has not argued that     Conditions contract.
                     it may enforce the class waiver provisions in




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                03465, 2016 WL 3125473, at *13–14 (D.S.C.                that certification of specific elements of
                June 3, 2016) (identifying similar ‘‘emerg-              liability, ‘‘leaving the remaining pieces of
                ing majority’’ of decisions in favor of ‘‘per-           liability and damages to be determined at
                missive approach’’ to issue certification);              individual trials,’’ would ‘‘render the signif-
                Martin v. Behr Dayton Thermal Prods.,                    icance of the class action easily over-
                LLC, 896 F.3d 405, 411–12 (6th Cir. 2018)                whelmed’’ by the subsequent individual
                (collecting cases). But as the district court            proceedings (cleaned up)). And although
                explained, our court has yet to rule direct-             class litigation may address the ‘‘incentive
                ly on this issue, and the question is not                problem’’ that arises when individual plain-
                entirely free from doubt. See Marriott III,              tiffs do not have enough at stake to justify
                341 F.R.D. at 168 n.60; see also Parker v.               individual litigation, that benefit, too, is
                Asbestos Processing, LLC, No. 0:11-cv-                   diminished by issue certifications ‘‘where
                01800, 2015 WL 127930, at *11 (D.S.C.                    the remaining individualized issues will
                Jan. 8, 2015) (‘‘[T]he Fourth Circuit has                also require significant resources.’’ Romig
                not directly addressed this dispute and the              v. Pella Corp., No. 14-cv-00433, 2016 WL
                relationship between Rule 23(b)(3) and                   3125472, at *17 (D.S.C. June 3, 2016); see
                Rule 23(c)(4) TTTT’’).7                                  also Naparala, 2016 WL 3125473, at *16.
                   What is clear, however, is that if courts             For all these reasons, ‘‘the superiority
                certify classes on individual elements of a              component of Rule 23(b)(3) frequently
                cause of action, Rule 23(b)(3)’s superiority             comes into play to defeat issue certifica-
                requirement takes on special importance.                 tion.’’ Parker, 2015 WL 127930, at *15.
                As several district courts in our circuit                   The district court here recognized as
                have cogently explained, this kind of issue              much. Marriott III, 341 F.R.D. at 170
                class will ‘‘almost automatically’’ meet Rule            (explaining need to ‘‘additionally consider
                23(b)(3)’s predominance requirement; once                whether the efficiency gains of certification
                the issues to be certified are ‘‘narrowed                outweigh the fact that individualized issues
                down to make them sufficiently ‘com-                     requiring significant time and attention re-
                mon,’ ’’ it is virtually axiomatic that com-             main for later’’ (cleaned up)). And it ac-
                mon issues will predominate. Naparala,                   knowledged that the efficiency of class
                2016 WL 3125473, at *14 (internal quota-                 proceedings would be affected by the fact
                tion marks omitted); see also Parker, 2015               that ‘‘important issues related to causation,
                WL 127930, at *15. That puts the ‘‘focus                 affirmative defenses, and damages related
                [on] Rule 23(b)(3)’s second requirement,                 to Accenture’s conduct [would] not be re-
                superiority,’’ because the same narrowing                solved during issue-class adjudication.’’ Id.
                process will have cleaved off individualized             But that loss of efficiency, the court con-
                questions of liability, as well as damages,              cluded, would be outweighed by one thing:
                for separate individual trials, diminishing              the efficiency benefits of certifying the is-
                the efficiency gains of the class proceed-               sue classes together with the damages
                ings. Naparala, 2016 WL 3125473, at *14;                 classes against Marriott. Because it had
                see also Tillman v. Highland Industries,                 ‘‘certified damages classes against Mar-
                Inc., No. 4:19-cv-02563, 2021 WL 4483035,                riott,’’ the court explained, it would ‘‘al-
                at *19 (D.S.C. Sept. 30, 2021) (explaining               ready be analyzing the intertwined factual

                7.     Nor has this court had occasion to address           result is inconsistent with Article III standing
                     Accenture’s additional concern regarding bi-           requirements, because there is no assurance
                     furcation of liability elements in this context,       at the certification stage that all class mem-
                     in which injury and causation elements have            bers have suffered the necessary injury in fact
                     been carved out of class proceedings: that the         at the hands of the defendant.




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                circumstances relevant to the duty and
                breach issues.’’ Id. And given the damages                IN RE: Weldon W. STEWART,
                classes against Marriot, not certifying is-                       Jr., Movant.
                sue classes against Accenture ‘‘would re-
                                                                                       No. 21-278
                sult in totally unnecessary duplication as
                Plaintiffs and Defendants litigated the                    United States Court of Appeals,
                Marriott class action and the presumably                           Fourth Circuit.
                numerous individual Accenture-related
                cases.’’ Id.                                                  Argued: January 26, 2023

                   [6] As explained above, however, we                         Decided: August 21, 2023
                have now vacated certification of the Rule            Background: Following state conviction
                23(b)(3) damages classes against Marriott.            for voluntary manslaughter, the United
                And without those classes, nothing re-                States District Court for the District of
                mains to support the district court’s supe-           South Carolina, Sol Blatt, Jr., Senior Dis-
                riority finding as to the issue classes               trict Judge, 701 F.Supp.2d 785, denied pe-
                against Accenture. In the Rule 23(c)(4)               tition for habeas relief. Petitioner appeal-
                issue-class context, as the district court            ed. The United States Court of Appeals for
                understood and all agree, the superiority             the Fourth Circuit, 412 Fed.Appx. 633,
                of class proceedings simply cannot be tak-            dismissed the appeal. Petitioner filed mo-
                en for granted, even when common ques-
                                                                      tion for authorization to file successive ha-
                tions predominate as to the certified is-
                                                                      beas petition.
                sues. Instead, courts must ‘‘evaluate this
                question of efficiency carefully.’’ Id. Be-           Holdings: The Court of Appeals, Quatt-
                cause the underpinning of the district                lebaum, Circuit Judge, held that petition-
                court’s careful evaluation has been re-               er’s claim that he had dissociative amnesia
                moved, we must vacate the court’s certifi-            and now remembered that victim died by
                cation of the Rule 23(c)(4) issue classes, as         suicide did not demonstrate that no rea-
                well. On remand, the district court may               sonable factfinder would find him guilty of
                reconsider that determination, taking into            voluntary manslaughter.
                account its ultimate disposition of the               Motion denied.
                plaintiffs’ motion to certify Rule 23(b)(3)
                damages classes against Marriott.                     Gregory, Circuit Judge, filed opinion con-
                                                                      curring in part and concurring in judg-
                                         III.                         ment.
                  For the foregoing reasons, we vacate the
                district court’s certification order and re-          1. Habeas Corpus O894.1
                mand for further proceedings consistent
                                                                          Generally, a state prisoner is entitled
                with this opinion.8
                                                                      to only one federal habeas challenge. 28
                     VACATED AND REMANDED                             U.S.C.A. § 2254.


                                 ,                                    2. Habeas Corpus O894.1, 899
                                                                           For any successive federal habeas ap-
                                                                      plication, the Antiterrorism and Effective

                8.     After briefing was completed, the plaintiffs    valuation of its customers’ personal informa-
                     moved to supplement the record to include         tion. The materials in question have no bear-
                     two letter orders issued by the district court    ing on our grounds of decision, and so we
                     concerning discovery related to Marriott’s        deny the motion as moot.




                                                              App. 35
